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1    MEDICAL CARE HOLDING, INC.                )
     d/b/a FRESENIUS MEDICAL CARE              )
2    NORTH AMERICA; FRESENIUS                  )
3    USA, INC.; FRESENIUS USA                  )
     MANUFACTURING, INC.;                      )
4    FRESENIUS USA                             )
5    MARKETING, INC.; FRESENIUS                )
     USA SALES, INC.; FRESENIUS                )
6    MEDICAL CARE AG & CO. KGAA;               )
7    FRESENIUS MEDICAL CARE                    )
     MANAGEMENT, AG;                           )
8    FRESENIUS SE & CO. KGAA;                  )
9    and FRESENIUS                             )
     MANAGEMENT, AG.,                          )
10
11   Defendants.

12         Plaintiffs, by and through the undersigned counsel, file this complaint and
13
     assert as follows:
14
15                               NATURE OF THE ACTION

16         1.      This is a product liability action for injuries and damages caused by
17
     GranuFlo dry acid concentrate (hereinafter “GranuFlo”) and/or NaturaLyte liquid
18
19   acid concentrate (hereinafter “NaturaLyte”) used during dialysis treatment

20   administered to Decedent.
21
           2.      Defendants, Fresenius Medical Care Holding, Inc., Fresenius Medical
22
23   Care Holding, Inc. d/b/a Fresenius Medical Care North America, Fresenius USA,

24   Inc., Fresenius USA Manufacturing, Inc., Fresenius USA Marketing, Inc.,
25
     Fresenius USA Sales, Inc., Fresenius Medical Care AG & Co. KGAA, Fresenius
26
27   Medical Care Management, AG, Fresenius SE & Co. KGAA, and Fresenius
                                         COMPLAINT
28                                           2
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1    Management, AG (hereinafter referred to as “Fresenius,”“Fresenius Defendants”

2    and/or “Defendants”), designed, researched, manufactured, tested, advertised,
3
     promoted, marketed, sold and/or distributed NaturaLyte and/or GranuFlo for use as
4
5    acid concentrates during hemodialysis.

6          3.    When warning of the safety, risks and/or defects of NaturaLyte and/or
7
     GranuFlo, Defendants concealed their knowledge of NaturaLyte’s and/or
8
9    GranuFlo’s safety, risks and/or defects from Plaintiffs, Decedent, the United States

10   Food and Drug Administration (hereinafter referred to as the “FDA”), the public in
11
     general and/or the medical community, specifically that NaturaLyte and/or
12
13   GranuFlo could cause serious and grave health consequences, including, but not

14   limited to, death, cardiopulmonary arrest, hypokalemia, hypoxemia, hypercapnia,
15
     cardiac arrhythmias, stroke and/or hypotension.
16
17         4.    Defendants negligently and/or fraudulently represented to the medical

18   and healthcare community, the FDA, Plaintiffs, Decedent,and the public in general
19
     that NaturaLyte and/or GranuFlo had been tested and were found to be safe and/or
20
21   effective for their indicated use – as acid concentrates to be administered during

22   hemodialysis.
23
           5.    When warning of the safety, risks and/or defects of NaturaLyte and/or
24
25   GranuFlo, Defendants negligently and/or fraudulently represented to the medical

26   and healthcare community, the FDA, Plaintiffs, Decedent, and the public in general
27
                                        COMPLAINT
28                                          3
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1    that NaturaLyte and/or GranuFlo had been tested and were found to be safe and/or

2    effective for their indicated use – as acid concentrates to be administered during
3
     hemodialysis.
4
5          6.      These representations and concealments were made by Defendants

6    with the intent of defrauding and/or deceiving Plaintiffs, Decedent, the public in
7
     general and the medical and healthcare community, and were made with the intent
8
9    of inducing the public in general, and the medical community in particular, to

10   recommend, dispense, prescribe, administer and/or otherwise use NaturaLyte
11
     and/or GranuFlo as acid concentrates during hemodialysis, all of which evinced a
12
13   callous, reckless, willful, depraved indifference to health, safety and welfare of

14   Decedent.
15
           7.      Defendants negligently and improperly failed to perform sufficient
16
17   tests, if any, concerning NaturaLyte’s and/or GranuFlo’s potential to cause serious

18   and   grave     health   consequences,   including   but   not   limited   to    death,
19
     cardiopulmonary      arrest,   hypokalemia,   hypoxemia,     hypercapnia,       cardiac
20
21   arrhythmias and/or hypotension, during clinical trials.

22         8.      As a result of the negligent, intentional, wanton and/or otherwise
23
     culpable acts of the Defendants alleged herein, Decedent suffered severe and
24
25   permanent personal injuries.

26
27
                                         COMPLAINT
28                                           4
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1                              JURISDICTION AND VENUE

2          9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because
3
     Plaintiffs and Defendants are citizens of different states and the amount in
4
5    controversy exceeds $75,000.

6          10.    Venue is proper in the Central District of California pursuant to 28
7
     U.S.C. § 1391 because a substantial part of the events giving rise to Plaintiffs’
8
9    claims occurred in this District.

10                           INTRADISTRICT ASSIGNMENT
11
           11.    Assignment is proper to the Eastern Division of this District under
12
13   Local Rule 3-2(c), as a substantial part of the events and omissions giving rise to

14   Plaintiffs’ claims occurred in San Bernardino County, California.
15
                                    PARTY PLAINTIFFS
16
17         12.    Plaintiff Carolina Defacio, at all times material hereto, was an adult

18   citizen and resident of San Bernardino County, California.            Plaintiff is the
19
     surviving spouse of Decedent, Jesse DeFacio, who also resided in San Bernardino
20
21   County, California.

22         13.    Plaintiff Martin Facio is the son of Decedent.
23
           14.    Plaintiff Norma Sheckgost is the daughter of Decedent.
24
25         15.    Plaintiff Carolina Rivera is the daughter of Decedent.

26         16.    Plaintiff Sylvia DeFacio is the daughter of Decedent.
27
                                         COMPLAINT
28                                           5
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1          17.    Plaintiff Veronica Stocker is the daughter of Decedent.

2          18.    Decedent suffered personal injuries, damages and death as a result of
3
     using NaturaLyte and/or GranuFlo during hemodialysis at his dialysis center
4
5    located in San Bernardino County, California, including, but not limited to, the

6    following: a severe adverse cardiovascular event on approximately March 26, 2011
7
     and cardiovascular death on or about April 6, 2011.
8
9          19.    Due to the negligent, intentional, willful, wanton, fraudulent, and/or

10   otherwise culpable conduct of Defendants alleged herein, Plaintiffs, Decedent,
11
     Decedent’s treating physicians and/or healthcare providers did not discover, nor
12
13   did they have reason to discover, the serious and severe health risks associated

14   with using NaturaLyte and/or GranuFlo and the resulting injury, until after the
15
     products were recalled by the FDA in June, 2012.
16
17                                PARTY DEFENDANTS

18         20.    Defendant Fresenius Medical Care Holding, Inc.is a corporation
19
     organized under the laws of the State of New York having its headquarters and
20
21   principal place of business at 920 Winter Street, Waltham, Massachusetts, 02451.

22         21.    Defendant Fresenius Medical Care Holding, Inc.at all times relevant
23
     herein was in the business of designing, testing, manufacturing, labeling,
24
25   advertising, marketing, promoting, selling and distributing NaturaLyte and/or

26   GranuFlo throughout the United States, including this judicial district.
27
                                         COMPLAINT
28                                           6
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1           22.    Defendant Fresenius Medical Care Holding, Inc. has transacted and

2    conducted business throughout the United States, including this judicial district.
3
            23.    Defendant Fresenius Medical Care Holding, Inc.has derived
4
5    substantial revenue from goods and products designed, manufactured, marketed,

6    advertised, promoted, sold, and/or distributed throughout the United States,
7
     including this judicial district.
8
9           24.    Defendant Fresenius Medical Care Holding, Inc.derives substantial

10   revenue from interstate commerce throughout the United States, including this
11
     judicial district.
12
13          25.    Defendant Fresenius Medical Care Holding, Inc. d/b/a Fresenius

14   Medical Care North Americais a corporation organized under the laws of the State
15
     of New York having its headquarters and principal place of business at 920 Winter
16
17   Street, Waltham, Massachusetts, 02451.

18          26.    Defendant Fresenius Medical Care Holding, Inc. d/b/a Fresenius
19
     Medical Care North America at all times relevant herein was in the business of
20
21   designing, testing, manufacturing, labeling, advertising, marketing, promoting,

22   selling and distributing NaturaLyte and/or GranuFlo throughout the United States,
23
     including this judicial district.
24
25
26
27
                                         COMPLAINT
28                                           7
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1          27.    Defendant Fresenius Medical Care Holding, Inc. d/b/a Fresenius

2    Medical Care North America has transacted and conducted business throughout the
3
     United States, including this judicial district.
4
5          28.    Defendant Fresenius Medical Care Holding, Inc. d/b/a Fresenius

6    Medical Care North America has derived substantial revenue from goods and
7
     products designed, manufactured, marketed, advertised, promoted, sold, and/or
8
9    distributed throughout the United States, including this judicial district.

10         29.    Defendant Fresenius Medical Care Holding, Inc. d/b/a Fresenius
11
     Medical Care North America derives substantial revenue from interstate commerce
12
13   conducted throughout the United States, including this judicial district and

14   expected or should have expected to be held accountable in this judicial district.
15
           30.    Defendant Fresenius USA, Inc.is a corporation organized under the
16
17   laws of the State of Massachusetts having its headquarters and principal place of

18   business at 920 Winter Street, Waltham, Massachusetts, 02451.
19
           31.    Defendant Fresenius USA, Inc. at all times relevant herein was in the
20
21   business of designing, testing, manufacturing, labeling, advertising, marketing,

22   promoting, selling and/or distributing NaturaLyte and/or GranuFlo throughout the
23
     United States, including this judicial district.
24
25         32.    Defendant Fresenius USA, Inc. has transacted and conducted business

26   throughout the United States, including this judicial district.
27
                                           COMPLAINT
28                                             8
     Case 5:13-cv-00401-JGB-OP Document 1 Filed 03/04/13 Page 9 of 84 Page ID #:9




1           33.    Defendant Fresenius USA, Inc. has derived substantial revenue from

2    goods and products designed, manufactured, marketed, advertised, promoted, sold
3
     and/or distributed throughout the United States, including this judicial district.
4
5           34.    Defendant Fresenius USA, Inc. derives substantial revenue from

6    interstate commerce conducted throughout the United States, including this judicial
7
     district and expected or should have expected to be held accountable in this judicial
8
9    district.

10          35.    Defendant Fresenius USA Manufacturing, Inc. is a corporation
11
     organized under the laws of the State of Delaware having its headquarters and
12
13   principal place of business at 920 Winter Street, Waltham, Massachusetts, 02451.

14          36.    Defendant Fresenius USA Manufacturing, Inc. at all times relevant
15
     herein was in the business of designing, testing, manufacturing, labeling,
16
17   advertising, marketing, promoting, selling and/or distributing NaturaLyte and/or

18   GranuFlo throughout the United States, including this judicial district.
19
            37.    Defendant Fresenius USA Manufacturing, Inc. has transacted and
20
21   conducted business throughout the United States, including this judicial district.

22          38.    Defendant Fresenius USA Manufacturing, Inc. has derived substantial
23
     revenue from goods and products designed, manufactured, marketed, advertised,
24
25   promoted, sold, and/or distributed throughout the United States, including this

26   judicial district.
27
                                          COMPLAINT
28                                            9
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1            39.    Defendant Fresenius USA Manufacturing, Inc. has derived substantial

2     revenue from goods and products designed, manufactured, marketed, advertised,
3
      promoted, sold, and/or distributed throughout the United States, including this
4
5     judicial district; and, expected or should have expected its acts to have

6     consequences within this judicial district.
7
             40.    Defendant Fresenius USA Marketing, Inc. is a corporation organized
8
9     under the laws of the State of Delaware having its headquarters and principal place

10    of business at 920 Winter Street, Waltham, Massachusetts, 02451.
11
             41.    Defendant Fresenius USA Marketing, Inc.at all times relevant herein
12
13    was in the business of designing, testing, manufacturing, labeling, advertising,

14    marketing, promoting, selling and/or distributing NaturaLyte and/or GranuFlo
15
      throughout the United States, including this judicial district.
16
17           42.    Defendant Fresenius USA Marketing, Inc. has transacted and

18    conducted business throughout the United States, including this judicial district.
19
             43.    Defendant Fresenius USA Marketing, Inc. has derived substantial
20
21    revenue from goods and products used throughout the United States, including this

22    judicial district.
23
             44.    Defendant Fresenius USA Marketing, Inc.expected or should have
24
25    expected its acts to have consequences within this judicial district; and derives

26
27
                                           COMPLAINT
28                                            10
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1     substantial revenue from interstate commerce transacted throughout the United

2     States, including this judicial district.
3
             45.    Defendant Fresenius USA Sales, Inc. is a corporation organized under
4
5     the laws of the State of Massachusetts having its headquarters and principal place

6     of business at 920 Winter Street, Waltham, Massachusetts, 02451.
7
             46.    Defendant Fresenius USA Sales, Inc.at all times relevant herein was
8
9     in the business of designing, testing, manufacturing, labeling, advertising,

10    marketing, promoting, selling and/or distributing NaturaLyte and/or GranuFlo
11
      throughout the United States, including this judicial district.
12
13           47.    Defendant Fresenius USA Sales, Inc.has transacted and conducted

14    business throughout the United States, including this judicial district.
15
             48.    Defendant Fresenius USA Sales, Inc.has derived substantial revenue
16
17    from goods and products used throughout the United States, including this judicial

18    district.
19
             49.    Defendant Fresenius USA Sales, Inc.expected or should have
20
21    expected its acts to have consequences within this judicial district; and, derives

22    substantial revenue from interstate commerce transacted throughout the United
23
      States, including this judicial district.
24
25           50.    Upon information and belief, Defendants Fresenius USA, Inc.,

26    Fresenius USA Manufacturing, Inc., Fresenius USA Marketing, Inc.andFresenius
27
                                             COMPLAINT
28                                              11
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1     USA Sales, Inc. are wholly owned subsidiaries of Defendants Fresenius Medical

2     Care Holding, Inc. and/or Fresenius Medical Care Holding, Inc. d/b/a Fresenius
3
      Medical Care North America.
4
5           51.    Defendant Fresenius Medical Care AG & Co. KGAA is a partnership

6     limited by shares organized under the laws of Germany having its headquarters and
7
      principal place of business at 61352 Bad Homburg, Germany with a postal address
8
9     of 61346 Bad Homburg, Germany.

10          52.    Defendant Fresenius Medical Care AG & Co. KGAA, a partnership
11
      limited by shares, was formerly known as Fresenius Medical Care AG, a stock
12
13    corporation. Fresenius Medical Care AG &Co. KGAA is the same legal business

14    entity as Fresenius Medical Care AG.
15
            53.    Defendant Fresenius Medical Care AG & Co. KGAA is and was at all
16
17    relevant times the parent company of Defendants Fresenius Medical Care Holding,

18    Inc. and/or Fresenius Medical Care Holding, Inc. d/b/a Fresenius Medical Care
19
      North America.
20
21          54.    Defendant Fresenius Medical Care AG & Co. KGAA at all times

22    relevant herein was in the business of designing, testing, manufacturing, labeling,
23
      advertising, marketing, promoting, selling and/or distributing NaturaLyte and/or
24
25    GranuFlo throughout the United States, including this judicial district.

26
27
                                          COMPLAINT
28                                           12
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1            55.    Defendant Fresenius Medical Care AG & Co. KGAA has transacted

2     and conducted business throughout the United States, including this judicial
3
      district.
4
5            56.    Defendant Fresenius Medical Care AG & Co. KGAA has derived

6     substantial revenue from goods and products used throughout the United States,
7
      including this judicial district.
8
9            57.    Defendant Fresenius Medical Care AG & Co. KGAA expected or

10    should have expected its acts to have consequences within this judicial district;
11
      and, derives substantial revenue from interstate commerce transacted throughout
12
13    the United States, including this judicial district.

14           58.    Defendant Fresenius Medical Care Management AG is a corporation
15
      organized under the laws of Germany having its headquarters and principal place
16
17    of business at 61352 Bad Homburg, Germany with a postal address of 61346 Bad

18    Homburg, Germany.
19
             59.    Defendant Fresenius Medical Care Management AG is the general
20
21    partner of Defendant Fresenius Medical Care AG & Co. KGAA, and is responsible

22    for the management of Defendant Fresenius Medical Care AG & Co. KGAA.
23
             60.    Defendant Fresenius Medical Care Management AG was the majority
24
25    voting shareholder of Fresenius Medical Care AG & Co. KGAA, when it was

26    known as Fresenius Medical Care AG, and was responsible for the management of
27
                                            COMPLAINT
28                                             13
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1     Defendant Fresenius Medical Care AG & Co. KGAA, when it was known as

2     Fresenius Medical Care AG.
3
             61.    Defendant Fresenius Medical Care Management AG at all times
4
5     relevant herein was in the business of designing, testing, manufacturing, labeling,

6     advertising, marketing, promoting, selling and distributing NaturaLyte and/or
7
      GranuFlo throughout the United States, including this judicial district.
8
9            62.    Defendant Fresenius Medical Care Management AG has transacted

10    and conducted business throughout the United States, including this judicial
11
      district.
12
13           63.    Defendant Fresenius Medical Care Management AG has derived

14    substantial revenue from goods and products used throughout the United States,
15
      including this judicial district.
16
17           64.    Defendant Fresenius Medical Care Management AG expected or

18    should have expected its acts to have consequences within this judicial district; and
19
      derives substantial revenue from interstate commerce transacted throughout the
20
21    United States, including this judicial district.

22           65.    Defendant Fresenius Medical Care Management AG is and was at all
23
      times relevant herein a wholly owned subsidiary of Defendant Fresenius SE & Co.
24
25    KGAA.

26
27
                                            COMPLAINT
28                                             14
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1            66.    Defendant Fresenius SE & Co. KGAA is a partnership limited by

2     shares organized under the laws of Germany having its headquarters and principal
3
      place of business at 61352 Bad Homburg, Germany with a postal address of 61346
4
5     Bad Homburg, Germany.

6            67.    Defendant Fresenius SE & Co. KGAA was formerly known as
7
      Fresenius SE, which was formerly known as Fresenius AG. Fresenius SE & Co.
8
9     KGAA is the same legal business entity as Fresenius SE and Fresenius AG.

10           68.    Defendant Fresenius SE & Co. KGAA at all times relevant herein was
11
      in the business of designing, testing, manufacturing, labeling, advertising,
12
13    marketing, promoting, selling and/or distributing NaturaLyte and/or GranuFlo

14    throughout the United States, including this judicial district.
15
             69.    Defendant Fresenius SE & Co. KGAA has transacted and conducted
16
17    business throughout the United States, including this judicial district.

18           70.    Defendant Fresenius SE & Co. KGAA has derived substantial revenue
19
      from goods and products used throughout the United States, including this judicial
20
21    district.

22           71.    Defendant Fresenius SE & Co. KGAA expected or should have
23
      expected its acts to have consequences within this judicial district; and derives
24
25    substantial revenue from interstate commerce transacted throughout the United

26    States, including this judicial district.
27
                                             COMPLAINT
28                                              15
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1           72.   Defendant Fresenius Management SE is a corporation organized

2     under the laws of Germany having its headquarters and principal place of business
3
      at 61352 Bad Homburg, Germany with a postal address of 61346 Bad Homburg,
4
5     Germany.

6           73.   Defendant Fresenius Management SE is the general partner of
7
      Fresenius SE & Co. KGAA, and is responsible for the management of Defendant
8
9     FreseniusSE & Co. KGAA.

10          74.   Defendant Fresenius Management SE was the majority voting
11
      shareholder of Fresenius SE & Co. KGAA, when it was known as Fresenius SE,
12
13    and was responsible for the management of Defendant Fresenius SE & Co. KGAA,

14    when it was known as Fresenius SE.
15
            75.   Defendant Fresenius Management SE was the majority voting
16
17    shareholder of Fresenius SE & Co KGAA, when it was known as Fresenius AG,

18    and was responsible for the management of Defendant Fresenius SE & Co. KGAA,
19
      when it was known as Fresenius AG.
20
21          76.   Defendant Fresenius Management SE at all times relevant herein was

22    in the business of designing, testing, manufacturing, labeling, advertising,
23
      marketing, promoting, selling and/or distributing NaturaLyte and/or GranuFlo in
24
25    the stream of commerce for use by the public, including the Decedent.

26
27
                                        COMPLAINT
28                                         16
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1            77.    Defendant Fresenius Management SE has transacted and conducted

2     business throughout the United States, including this judicial district.
3
             78.    Defendant Fresenius Management SE has derived substantial revenue
4
5     from goods and products used throughout the United States, including this judicial

6     district.
7
             79.    Defendant Fresenius Management SE expected or should have
8
9     expected its acts to have consequences within this judicial district; and derives

10    substantial revenue from interstate commerce transacted throughout the United
11
      States, including this judicial district.
12
13                             JOINT & SEVERAL LIABILITY

14           80.    Hereinafter the aforementioned Defendants may collectively be
15
      referred to as “Defendants” or “Fresenius.”
16
17           81.    The combined acts and/or omissions of each Defendant resulted in

18    injury to Plaintiffs and Decedent. Each of the above-named Defendants is a joint
19
      tortfeasor and is jointly and severally liable to Plaintiffs for the negligent acts and
20
21    omissions alleged herein.

22           82.    Upon information and belief, each Defendant is a wholly-owned
23
      subsidiary of Fresenius Medical Care AG & Co. KGAA.
24
25           83.    At all relevant times each Defendant acted in all aspects as agent and

26    alter ego of for each named Defendant.
27
                                             COMPLAINT
28                                              17
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1              84.   At all relevant times each Defendant acted in all aspects as agent and

2     alter ego of Fresenius Medical Care AG & Co. KGAA.
3
               85.   At all relevant times, Defendants were engaged in the business of
4
5     designing, testing, manufacturing, marketing, promoting, selling, labeling,

6     packaging, and/or distributing NaturaLyte and/or GranuFlo in this judicial district
7
      and throughout the United States.
8
9              86.   At all relevant times, Defendants intentionally, recklessly and/or

10    negligently designed, manufactured, marketed, advertised, promoted, labeled, sold
11
      and/or distributed NaturaLyte and/or GranuFlo as being safe for use in dialysis
12
13    when, in fact, the Defendants had reason to know, and/or did know, that the

14    products were not safe and associated with an increased risk of serious injury and
15
      death.
16
17             87.   At all times material hereto, Defendants maintained systematic and

18    continuous contacts in this judicial district, regularly transacted business within
19
      this judicial district, and regularly availed itself of the benefits of this judicial
20
21    district.

22             88.   At all relevant times, Defendants intentionally, recklessly and/or
23
      negligently concealed, suppressed, omitted, and misrepresented the risks, dangers,
24
25    defects, and disadvantages of NaturaLyte and/or GranuFlo.

26
27
                                           COMPLAINT
28                                            18
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1            89.    Defendants are present and doing business in this state. Defendants

2     are and were at all relevant times authorized to conduct business within this
3
      judicial district.
4
5            90.    At all relevant times, Defendants intentionally, recklessly and/or

6     negligently designed, manufactured, marketed, advertised, promoted, labeled, sold
7
      and/or distributed NaturaLyte and/or GranuFlo in this judicial district which
8
9     caused and/or substantially contributed to causing the injuries and damages alleged

10    herein.
11
             91.    Defendants received substantial financial benefit and profits as a
12
13    result of designing, manufacturing, marketing, advertising, promoting, labeling,

14    selling and/or distributing NaturaLyte and/or GranuFlo in this judicial district and
15
      throughout the United States.
16
17                               FACTUAL BACKGROUND

18       A. Hemodialysis in General
19
             92.    Hemodialysis is a method of treating acute and chronic kidney
20
21    disease.

22           93.    Hemodialysis is a treatment that attempts to replace the function of a
23
      normal kidney by filtering waste and removing extra fluids and electrolytes from
24
25    the body.

26
27
                                          COMPLAINT
28                                           19
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1           94.    A person undergoing hemodialysis is connected to a hemodialysis

2     machine and then blood is removed from the body. A dialysate is utilized in the
3
      hemodialysis machine to remove the waste from the blood. Once the waste is
4
5     removed, the blood is returned to the body.

6           95.    Many patients who suffer from kidney disease also suffer from a
7
      condition known as metabolic acidosis (too much acid in the body) because the
8
9     kidneys are failing to remove excess acid from the body.

10          96.    One goal of hemodialysis is to attempt to bring the body’s acid levels
11
      into balance. This can be done through the use of a base – a bicarbonate dialysate
12
13    – where the bicarbonate acts as a pH buffer to neutralize the metabolic acidosis.

14          97.    Because kidney failure also affects the body’s ability to produce
15
      electrolytes, such as calcium and magnesium, these same electrolytes are
16
17    introduced into the blood during hemodialysis. However, because the bicarbonates

18    when combined with calcium and/or magnesium react to create an insoluble
19
      substance, an acid concentrate is added to the bicarbonate dialysate to prevent this
20
21    from occurring.

22          98.    Defendants’ NaturaLyte and GranuFlo are acid concentrates.
23
            99.    When introduced into the body, the acid contained within acid
24
25    concentrates is converted into bicarbonates by the liver, which increases

26    bicarbonate levels in the blood.
27
                                          COMPLAINT
28                                           20
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1              100. As a result, a person undergoing hemodialysis receives bicarbonates

2     from two sources: (1) the bicarbonate solution introduced during dialysis; and (2)
3
      the acid concentrate when it reaches the liver.
4
5              101. If an individual undergoing dialysis is administered and/or receives an

6     excess of bicarbonates from one and/or both sources, metabolic alkalosis can
7
      occur.
8
9              102. Metabolic alkalosis is a medical condition in which there is too much

10    bicarbonate or base in the blood. It is the converse of metabolic acidosis.
11
               103. Metabolic alkalosis is a medical condition which, if left undiagnosed
12
13    and/or untreated, can lead to serious adverse events, including but not limited to

14    electrolyte imbalances, hypokalemia, hypercapnia, hypotension, hypoxemia, heart
15
      arrhythmias, heart attacks, coma, cardiac arrest, stroke and/or death.
16
17             104. Given that a person undergoing hemodialysis receives bicarbonates

18    from two sources (the bicarbonate solution and the acid concentrate), a prescribing
19
      physician and/or healthcare facility must ensure that the individual undergoing
20
21    dialysis is receiving enough bicarbonates, from both sources, to address the

22    individual’s acid levels in the blood, but not excessive amounts of bicarbonates so
23
      as to cause metabolic alkalosis.
24
25             105. As such, it is imperative that the manufacturer of a product used in

26    hemodialysis, such as an acid concentrate, advise and/or warn prescribing
27
                                           COMPLAINT
28                                            21
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1     physicians and/or healthcare facilities of any and all risks, concerns, defects and

2     other safety information regarding said product.
3
      B.     NaturaLyte and GranuFlo
4
5            106. NaturaLyte and/or GranuFlo are acid concentrates designed,

6     manufactured, marketed, advertised, distributed, and sold by Defendants to be used
7
      with a bicarbonate concentrate to create a bicarbonate dialysate for hemodialysis.
8
9            107. NaturaLyte contains 4.0 mEq/L of acetate.

10           108. GranuFlo contains 8.0 mEq/L of acetate.
11
             109. NaturaLyte and/or GranuFlo are regulated as medical devices by the
12
13    FDA.

14           110. NaturaLyte and/or GranuFlo are registered trademarks of the
15
      Defendants.
16
17           111. NaturaLyte and/or GranuFlo were submitted for approval by the FDA

18    through the 510(k) process as opposed to the FDA’s more rigorous premarket
19
      approval process.
20
21           112. Upon information and belief, Defendants submitted their NaturaLyte

22    and/or GranuFlo acid concentrates for approval pursuant to the 510(k) approval
23
      process as opposed to the FDA’s more rigorous premarket approval process so that
24
25    they could bypass the premarket approval process, which would have obligated

26
27
                                         COMPLAINT
28                                          22
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1     them to design and implement a clinical investigation regarding the products and to

2     submit the results of that investigation to the FDA for review.
3
            113. Upon information and belief, on or about April 23, 1981, Defendants’
4
5     NaturaLyte 9000 Series was approved for marketing, sale and use pursuant to the

6     510(k) approval process.
7
            114. Upon information and belief, on or about December 3, 1982,
8
9     Defendants’ NaturaLyte 4000 Series was approved for marketing, sale and use

10    pursuant to the 510(k) approval process.
11
            115. Upon information and belief, on or about July 26, 1985, Defendants’
12
13    NaturaLyte 6000 Series was approved for marketing, sale and use pursuant to the

14    510(k) approval process.
15
            116. Upon information and belief, on or about April 29, 1992, Defendants
16
17    submitted a premarket notification of their intent to market GranuFlo in a

18    granulated formula (“GranuFlo April 510(k) submission”) in the United States to
19
      the FDA.
20
21          117. Upon information and belief, Defendants’ GranuFlo April 510(k)

22    submission to the FDA included Defendants’ unilateral finding that GranuFlo in a
23
      granulated formula was substantially equivalent to other products on the market.
24
25
26
27
                                          COMPLAINT
28                                           23
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1           118. Upon information and belief, Defendants’ GranuFlo that was the

2     subject of their GranuFlo April 510(k) submission to the FDA did not contain
3
      diacetate.
4
5           119. Upon information and belief, based upon information provided to

6     them by Defendants, the FDA originally approved GranuFlo in a granulated
7
      formula for marketing, sale and use on or about 1994.
8
9           120. Upon information and belief, in or about 2002, Defendants altered the

10    formula of their GranuFlo by switching the acid used in said product to diacetate.
11
            121. Upon information and belief, Defendants’ goal in using diacetate in
12
13    their GranuFlo was to counter the negative effects of metabolic acidosis by

14    increasing bicarbonate levels in the blood via an acid concentrate as opposed to
15
      and/or in addition to a bicarbonate solution.
16
17          122. Upon information and belief, Defendants’ goal in using diacetate in

18    their GranuFlo was to improve pre-dialysis bicarbonate levels in the blood.
19
            123. In or about 2002, Defendants began administering their GranuFlo with
20
21    diacetate to dialysis patients.

22          124. Upon information and belief, in or about 2002, Defendants began
23
      administering their GranuFlo with diacetate to dialysis patients without FDA
24
25    approval.

26
27
                                          COMPLAINT
28                                           24
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1           125. On or about January 14, 2003, Defendants submitted a premarket

2     notification of their intent to market GranuFlo in a non-granulated formula in the
3
      United States to the FDA (“GranuFlo January 510(k) submission”).
4
5           126. Defendants’ GranuFlo that was subject to the January 510(k)

6     submission contained diacetate.
7
            127. Within their GranuFlo January 510(k) submission, Defendants did not
8
9     advise the FDA and/or concealed from the FDA that they had begun administering

10    their GranuFlo with diacetate to dialysis patients in or about August 2002.
11
            128. Defendants’ GranuFlo January 510(k) submission to the FDA
12
13    included Defendants’ unilateral finding that GranuFlo, in a non-granulated

14    formula, was substantially equivalent to other products on the market, including
15
      their GranuFlo products (previously referred to as Granulyte) that were approved
16
17    by the FDA on or about 1991and 1994.

18          129. Within Defendants’ GranuFlo’s January 510(k) submission to the
19
      FDA, Defendants represented to the FDA that their GranuFlo, in a non-granulated
20
21    formula, would be used as a direct product replacement for their previously

22    approved GranuFlo.
23
            130. Within Defendants’ GranuFlo’s January 510(k) submission to the
24
25    FDA, Defendants represented to the FDA that their GranuFlo, in a non-granulated

26
27
                                         COMPLAINT
28                                          25
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1     formula, had the same chemical composition as their previously approved

2     GranuFlo.
3
            131. Within Defendants’ GranuFlo’s January 510(k) submission to the
4
5     FDA, Defendants failed to notify and/or inform the FDA that their GranuFlo, in a

6     non-granulated formula, contained diacetate.
7
            132. Within Defendants’ GranuFlo’s January 510(k) submission to the
8
9     FDA, Defendants intentionally, willfully, recklessly and/or negligently hid,

10    omitted and concealed from the FDA that their GranuFlo, in a non-granulated
11
      formula, contained diacetate.
12
13          133. Upon information and belief, Defendants intentionally drafted their

14    January 510(k) submission in such a manner so as to mislead the FDA into
15
      believing that their GranuFlo, in a non-granulated formula, contained the same
16
17    type of acetate as their previously approved GranuFlo so as to support a finding by

18    the FDA that the products were substantially similar.
19
            134. Upon information and belief, based upon information provided to
20
21    them by Defendants, the FDA originally approved GranuFlo in a non-granulated

22    formula for marketing, sale and use on or about May 20, 2003.
23
            135. Upon information and belief, following its approval by the FDA,
24
25    Defendants only manufactured, marketed, promoted, advertised, marketed,

26    distributed and/or sold GranuFlo containing dialysate.
27
                                         COMPLAINT
28                                          26
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1           136. Upon information and belief, following its approval by the FDA,

2     Defendants only manufactured, marketed, promoted, advertised, marketed,
3
      distributed and/or sold GranuFlo containing 8 mEq/L, which is equivalent to
4
5     4mEq/L more acetate than any other acid concentrate on the market.

6           137. Upon information and belief, following its approval by the FDA, the
7
      Defendants never communicated to all treating physicians and/or healthcare
8
9     facilities administering and/or using GranuFlo that bicarbonate levels needed to be

10    adjusted to take into account the additional acetate provided by GranuFlo.
11
      C.    Defendants’ Knowledge
12
13          138. Since the 1990s the literature has revealed the risks of elevated

14    bicarbonate levels and increased mortality risk including, but not limited to, the
15
      following:
16
17             a. Lowrie EG, Lew NL: Death Risk in Hemodialysis Patients: the
                  Predictive Value of Commonly Measured Variables and an Evaluation
18                of Death Rate Differences between Facilities, Am J Kidney Dis.,
19                15:458-482 (1990);

20             b. Williams AJ, Dittmer ID, McArley A, Clarke K., High Bicarbonate
21                Dialysis in Haemodialysis Patients: Effects on Acidosis and
                  Nutritional Status, Nephrol Dial Transplant, 12:2633-37 (1997);
22
23             c. Grassmann A, Uhlenbusch-Korwer I, Bonnie-Schorn E, Vienken J,
                  Composition and Management of Hemodialysis Fluids. Good Dialysis
24                Practice, Vol. 2 at 60-99 (Pabst 2000);
25
               d. Karnik JA, Young BS, Lew NL, et al., Cardiac Arrest and Sudden
26                Death in Dialysis Units, Kidney Int., 60:350-57 (2001);
27
                                         COMPLAINT
28                                          27
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1              e. Bommer J, Locatelli F, Satayathum S, et al., Association of
                  Predialysis Serum Bicarbonate Levels with Risk of Mortality and
2                 Hospitalization in the Dialysis Outcomes and Practice Patterns Study,
3                 Am. J Kidney Dis., 22:661-71 (2004);

4              f. Wu DY, Shinaberger CS, Regidor DL, McAllister CJ, Kopple JD,
5                 Kalantar-zadeh K: Association between Serum Bicarbonate and Death
                  in Hemodialysis Patients: Is It Better to be Acidotic or Alkalotic?,
6                 Glin Am SocNephrol, 1:70-78 (2006);
7
               g. Bleyer AJ, Hartman J, Brannon PC, Reeves-Daniel A, Satko SG,
8                 Russell G., Characteristics of Sudden Death in Hemodialysis Patients,
9                 Kidney Int, 69:2268-73 (2006); and

10             h. Gennari FJ. Very Low and High Predialysis Serum Bicarbonate
11                Levels are Risk Factors for Morality: What are the Appropriate
                  Interventions? SeminDial. May-Jun; 23(3): 253-257 (2010).
12
13          139. By at least 2001, Defendants also recognized there was confusion and

14    protocol issues regarding bicarbonate delivery during dialysis treatment and the
15
      labeling on bicarbonate and acid concentrate products. Defendants knew this meant
16
17    physicians did not have adequate information to inform their medical decision

18    making to assure patients received intended treatments.
19
            140. Defendants further realized that users of dialysis machines, nurses,
20
21    technicians, and other staff, were inadequately trained and informed regarding the

22    product and dialysis machine configurations, the interrelationship between
23
      bicarbonate concentrations, and in setting machine levels and features.
24
25          141. By at least 2003, Defendants knew, or should have known:

26             a. That patients using their product were developing post-dialysis
27                alkalosis;
                                         COMPLAINT
28                                          28
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1
               b. That alkalosis is a significant independent and additive risk factor
2                 associated with cardiopulmonary arrest, and leads to other metabolic
3                 imbalances that contribute to cardiac arrest;

4              c. That the major cause of alkalosis in dialysis patients was
5                 inappropriately high dialysate total buffer concentration; and

6              d. That physicians needed warnings and adequate instructions to
7                 properly treat patients and prescribe the product, and staff needed
                  adequate instructions regarding proper machine settings and proper
8                 review and monitoring of patients.
9
            142. A 2004 study published in the American Journal of Kidney Diseases
10
11    titled, “Association of Predialysis Serum Bicarbonate Levels with Risk of

12    Mortality and Hospitalization in the Dialysis Outcomes and practice Patterns
13
      Study” further informed Defendants of their product’s dangers, it observed that
14
15    patients with increased pre-dialysis metabolic alkalosis levels were more likely to

16    experience a heart attack or sudden cardiac death absent lowering the bicarbonate
17
      prescription.
18
19          143. In a patent application assigned to Defendants filed May 17, 2006,

20    Defendants described an invention that admitted the “contribution of bicarbonate
21
      resulting from metabolism of acetate contained in an acid dialysate constituent.” It
22
23    included a diagram of machine settings for GranuFlo® use that clearly showed the

24    extra contribution of bicarbonate to the overall buffer. Defendants therefore knew
25
      by this time that its product required special instructions to reduce the risk of
26
27    dangerously high bicarbonate levels.
                                         COMPLAINT
28                                          29
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1           144. Between 2001 and 2012, Defendants repeatedly learned of persistent

2     confusion about the bicarbonate settings on dialysis machines and physicians’
3
      prescriptions for bicarbonate. In particular:
4
5           a.   Defendants knew that nephrologists, dialysis nurses and technicians,
                 physicians, and patients were not properly educated, trained, or informed
6                about the acetate levels in their dialysis concentrates and that their
7                product significantly increased the total buffer;

8           b.   Defendants knew that dialysis machines displayed a bicarbonate value
9                that did not reflect an accurate total buffer value and therefore, additional
                 calculations and steps were necessary to achieve the proper level of
10               bicarbonate;
11
            e. Defendants knew that because of their misleading product information
12             and inadequate warnings and instructions, patients were receiving too
13             much bicarbonate, which could cause alkalosis;

14          d.   Defendants knew that bicarbonate-induced alkalosis could cause a
15               dialysis patient’s blood pressure to plummet, which, independently or
                 compounded with other metabolic disturbances, can lead to cardiac arrest
16               and stroke; and
17
            e.   Defendants knew that the major cause of alkalosis in dialysis patients
18               was the aforementioned inappropriately high dialysate total buffer
19               concentration.

20          145. In or about 2004, Defendants conducted a retrospective study of
21
      dialysis patients who had converted from previously approved acid concentrates to
22
23    GranuFlo containing diacetate between August 2002 and April 2003 (Defendants’

24    2004 Retrospective Study).
25
            146. Upon information and belief, the goal of Defendants’ 2004
26
27    Retrospective Study was to determine the efficacy of acid concentrate containing
                                           COMPLAINT
28                                            30
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1     diacetate (i.e. GranuFlo) in resolving and/or reducing metabolic acidosis when

2     compared with a standard acid concentrate.
3
            147. Upon information and belief, the goal of Defendants’ 2004
4
5     Retrospective Study was to determine the efficacy of acid concentrate containing

6     diacetate (i.e. GranuFlo) in improving pre-dialysis bicarbonate levels in the blood.
7
            148. In or about 2004, Defendants evaluated the results of their 2004
8
9     Retrospective Study which revealed, among other things, higher than normal pre

10    and post-dialysis bicarbonate levels as a result of the administration of GranuFlo
11
      containing diacetate.
12
13          149. In or about 2004, Defendants evaluated the results of their 2004

14    Retrospective Study which also revealed, among other things, a significant
15
      increase in cases of metabolic alkalosis as a result of the administration of
16
17    GranuFlo containing diacetate.

18          150. Defendants were on notice and/or should have been on notice of their
19
      obligation to report the results of their 2004 Retrospective Study to the FDA, the
20
21    medical community, Plaintiffs, Decedent, Decedent’s treating physicians and/or

22    healthcare providers and the public.
23
            151. Upon information and belief, despite the results of their 2004
24
25    Retrospective Study and their knowledge of the severe health risks associated with

26    their GranuFlo, Defendants intentionally and willfully concealed their knowledge
27
                                          COMPLAINT
28                                           31
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1     of these results and/or the increased severe health risks associated with their

2     GranuFlo from the FDA, the medical community, Plaintiffs, Decedent, Decedent’s
3
      treating physicians and/or healthcare providers and the public.
4
5           152. As a result of the data that was or should have been known to

6     Defendants as described herein, Defendants were on notice and/or should have
7
      been on notice that the administration of GranuFlo containing diacetate resulted in
8
9     higher than normal pre and post-dialysis bicarbonate levels.

10          153. As a result of the data that was or should have been known to
11
      Defendants as described herein, Defendants were on notice and/or should have
12
13    been on notice that the administration of GranuFlo containing diacetate resulted in

14    a significant increase in metabolic alkalosis.
15
            154. As a result of the data that was or should have been known to
16
17    Defendants as described herein, Defendants were on notice and/or should have

18    been on notice that additional testing was necessary regarding the safety of their
19
      GranuFlo.
20
21          155. As a result of the data that was or should have been known to

22    Defendants as described herein, Defendants were on notice and/or should have
23
      been on notice that dialysis patients may have been receiving too many
24
25    bicarbonates during dialysis as a result of their receipt of GranuFlo.

26
27
                                           COMPLAINT
28                                            32
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1           156. As a result of the data that was or should have been known to

2     Defendants as described herein, Defendants were on notice and/or should have
3
      been on notice of the need to advise, instruct and/or warn all prescribing physicians
4
5     and/or healthcare facilities that dialysis patients may be receiving too many

6     bicarbonates during dialysis as a result of their receipt of GranuFlo.
7
            157. Upon information and belief, despite their knowledge of the severe
8
9     health risks associated with GranuFlo, Defendants failed to:

10             a. Adequately and timely inform the FDA, the medical community,
11                Plaintiffs, Decedent, Decedent’s treating physicians and/or healthcare
                  providers and the public, regarding these results and/or risks.
12
13             b. Advise and/or warn all doctors and/or other healthcare providers
                  treating patients with GranuFlo to reduce the amount of bicarbonates
14                being administered to and/or received by the patient during dialysis to
15                take into account the additional bicarbonates that these individuals
                  were receiving from GranuFlo.
16
17             c. Advise and/or warn all doctors and/or other healthcare providers
                  treating patients with GranuFlo to monitor more frequently the
18                dialysis patient’s pre and post-dialysis bicarbonate levels.
19
               d. Advise and/or warn doctors, the FDA, the medical community,
20                Plaintiffs, Decedent, Decedent’s treating physicians and healthcare
21                providers and the public of the increased risk of suffering from
                  metabolic alkalosis as a result of the administration of GranuFlo
22                and/or,
23
               e. Conduct additional testing regarding the safety of their GranuFlo.
24
25
26
27
                                          COMPLAINT
28                                           33
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1           158. On or about November 4, 2011, Fresenius Defendants sent an Internal

2     Memo (“Fresenius’ Internal Memo”) to some of its clinics regarding the severe
3
      health risks associated with their NaturaLyte and/or GranuFlo.
4
5           159. Within Fresenius’ Internal Memo, Fresenius Defendants identified a

6     case-control study they performed to evaluate risk factors in hemodialysis patients
7
      who had suffered from cardiopulmonary arrest compared to other hemodialysis
8
9     patients between January 1, 2010, and December 31, 2010.

10          160. Fresenius Defendants did not notify the FDA of the case-control study
11
      identified within Fresenius’ Internal Memo.
12
13          161. Upon information and belief, Fresenius Defendants conducted the

14    case-control study identified within Fresenius’ Internal Memo because of increased
15
      reports of cardiac events being associated with their GranuFlo.
16
17          162. According to Fresenius’ Internal Memo, the results of the case-control

18    study identified within Fresenius’ Internal Memo revealed that for the patients
19
      receiving Defendants’ NaturaLyte and/or GranuFlo, there was a progressive shift
20
21    towards higher pre-dialysis serum bicarbonate levels, implying that more patients

22    were experiencing alkalosis prior to dialysis and an even higher percentage of
23
      patients were experiencing alkalosis post-dialysis.
24
25          163. According to Fresenius’ Internal Memo, the results of the case-control

26    study revealed that borderline elevated pre-dialysis bicarbonate levels and overt
27
                                          COMPLAINT
28                                           34
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1     alkalosis were associated with six to eight fold greater risk of cardiopulmonary

2     arrest and sudden cardiac death in the dialysis facility.
3
            164. According to Fresenius’ Internal Memo, Fresenius Defendants stated
4
5     “[i]n light of these troubling findings, we strongly recommend that physicians

6     adjust dialysate bicarbonate prescriptions monthly for individual patients, with
7
      immediate attention to patients with serum pre-dialysis bicarbonate levels of >24
8
9     mEq/L.”

10          165. Fresenius’ Internal Memo was only sent internally.
11
            166. Upon information and belief, Fresenius’ Internal Memo was not sent
12
13    to the medical facilities at which the Decedent was administered and/or received

14    NaturaLyte and/or GranuFlo.
15
            167. Upon information and belief, Fresenius’ Internal Memo was not sent
16
17    to the Decedent’s treating physicians who ordered and/or prescribed her dialysis

18    treatments.
19
            168. Fresenius’ Internal Memo references previous internal memos that
20
21    were sent to medical directors and attending physicians employed by Fresenius

22    Defendants regarding the severe health risks associated with NaturaLyte and/or
23
      GranuFlo, which, at all relevant times, remained in the custody, control and
24
25    possession of Defendants.

26
27
                                           COMPLAINT
28                                            35
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1           169. Upon information and belief, these previous internal memos were not

2     sent to the medical facilities at which the Decedent was administered and/or
3
      received NaturaLyte and/or GranuFlo.
4
5           170. Upon information and belief, these previous internal memos were not

6     sent to the Decedent’s treating physicians who ordered and/or prescribed
7
      Decedent’s dialysis treatments.
8
9           171. Fresenius’ Internal Memo references a Medical Staff Newsletter dated

10    January 2010 that was made available to medical directors and attending
11
      physicians employed by Fresenius Defendants and that discussed the severe health
12
13    risks associated with NaturaLyte and/or GranuFlo, which, at all relevant times,

14    remained in the custody, control and possession of Defendants.
15
            172. Upon information and belief, the Medical Staff Newsletter dated
16
17    January 2010 was not sent to the medical facilities at which Decedent was

18    administered and/or received NaturaLyte and/or GranuFlo.
19
            173. Upon information and belief, Medical Staff Newsletter dated January
20
21    2010 was not sent to Decedent’s treating physicians who ordered and/or prescribed

22    Decedent’s dialysis treatments.
23
            174. After Fresenius Defendants learned and/or should have learned of the
24
25    severe health risks associated with their NaturaLyte and/or GranuFlo, Defendants

26
27
                                        COMPLAINT
28                                         36
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1     intentionally and affirmatively elected not to report these risks to the FDA as

2     required by law.
3
            175. After Fresenius Defendants learned and/or should have learned of the
4
5     severe health risks associated with their NaturaLyte and/or GranuFlo, Defendants

6     intentionally and affirmatively elected not to report these risks to the entire medical
7
      community, Plaintiffs, Decedent, Decedent’s treating physicians and healthcare
8
9     providers and the public at large.

10          176. Upon information and belief, Defendants colluded to hide, conceal
11
      and obscure information about the severe health risks associated with their
12
13    NaturaLyte and/or GranuFlo so that dialysis patients, such as Decedent, and

14    Decedent’s treating physicians and/or healthcare facilities would rely on and/or
15
      continue to use their NaturaLyte and/or GranuFlo in dialysis treatments.
16
17          177. Upon information and belief, Defendants colluded to misrepresent

18    information regarding the safety of their NaturaLyte and/or GranuFlo so that
19
      dialysis patients, such as Decedent, and Decedent’s treating physicians and/or
20
21    healthcare facilities would rely on and/or continue to use their NaturaLyte and/or

22    GranuFlo in dialysis treatments.
23
            178. Upon information and belief, Defendants colluded to hide, conceal
24
25    and obscure information about the severe health risks associated with their

26
27
                                           COMPLAINT
28                                            37
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1     NaturaLyte and/or GranuFlo in order to maintain their market share and to

2     minimize and diffuse the legal risks for Fresenius.
3
            179. Upon information and belief, Defendants colluded to misrepresent
4
5     information regarding the safety of their NaturaLyte and/or GranuFlo in order to

6     maintain their market share and to minimize and diffuse the legal risks for
7
      Fresenius.
8
9           180. Upon information and belief, rather than informing the FDA, the

10    medical community, Plaintiffs, Decedent, Decedent’s treating physicians and
11
      healthcare providers and the public at large of the severe health risks associated
12
13    with their NaturaLyte and/or GranuFlo, Fresenius Defendants decided to

14    manufacturer, market, promote, distribute and/or sell a new acid concentrate,
15
      Citrasate, to replace their NaturaLyte and/or GranuFlo.
16
17          181. Upon information and belief, Defendants intended to advertise,

18    market and promote the benefits of their new acid concentrate, Citrasate, so that
19
      treating physicians and medical facilities would switch to Citrasate from
20
21    NaturaLyte and/or GranuFlo and, thus, Defendants could justify a discontinuance

22    of their NaturaLyte and/or GranuFlo for reasons other than product safety.
23
            182. In reliance upon Defendants’ misrepresentations, omissions and/or
24
25    concealments as set forth herein, Decedent, Decedent’s treating physicians and/or

26    healthcare facilities used NaturaLyte and/or GranuFlo.
27
                                          COMPLAINT
28                                           38
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1           183. Had the severe health risks associated with Defendants’ NaturaLyte

2     and/or GranuFlo been properly and/or adequately disclosed, Decedent, Decedent’s
3
      treating physicians and/or healthcare facilities would not have purchased and/or
4
5     used NaturaLyte and/or GranuFlo.

6           184. In or about March 2012, Defendants’ Internal Memo was
7
      anonymously submitted to the FDA.
8
9           185. In or about March 2012, the FDA discovered Defendants’ knowledge

10    and unlawful concealment of the severe health risks associated with their
11
      NaturaLyte and/or GranuFlo.
12
13          186. In or about March 2012, the FDA discovered that Defendants had

14    violated federal law by failing to report their knowledge of the severe health risks
15
      associated with their NaturaLyte and/or GranuFlo.
16
17          187.   As a result of the FDA’s discovery of Defendants’ knowledge and

18    unlawful concealment of the severe health risks associated with their NaturaLyte
19
      and/or GranuFlo, on or about March 27, 2012, Fresenius received an inquiry from
20
21    the FDA regarding the severe health risks associated with their NaturaLyte and/or

22    GranuFlo.
23
            188. Following the FDA’s inquiry, on or about March 29, 2012,
24
25    Defendants sent a vague and ambiguous two page memorandum entitled “Urgent

26    Product Notification Letter” to non-Fresenius dialysis clinics, hospitals and other
27
                                         COMPLAINT
28                                          39
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1     customers notifying them of the risk of metabolic alkalosis associated with their

2     NaturaLyte and/or GranuFlo.
3
             189. Upon information and belief, after further investigation conducted by
4
5     the FDA into the severe health risks associated with their NaturaLyte and/or

6     GranuFlo, including Defendants’ knowledge and unlawful concealment thereof, on
7
      June 28, 2012, the FDA issued a Class I recall of Defendants’ NaturaLyte and/or
8
9     GranuFlo.

10           190. A Class I recall is a recall of dangerous or defective products that
11
      predictably could cause serious health problems or death.
12
13           191. A Class I recall is the most serious recall that can be issued by the

14    FDA.
15
             192. Plaintiffs,Decedent,   Decedent’s     treating   physicians,   healthcare
16
17    providers, and/or healthcare facilities did not discover, nor did they have reason to

18    discover, the serious and severe health risks associated with Defendants’
19
      NaturaLyte and/or GranuFlo, until after the products were recalled by the FDA on
20
21    June 28, 2012.

22    D.     Fresenius Defendants
23
             193. Fresenius Defendants are the world’s largest integrated providers of
24
25    products and services for individuals undergoing dialysis because of chronic

26    kidney failure.
27
                                          COMPLAINT
28                                           40
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1           194. As vertically integrated companies, Fresenius Defendants offer both

2     dialysis clinics and products used in dialysis care, such as acid concentrates.
3
            195. Fresenius Defendants sell their products, including NaturaLyte and/or
4
5     GranuFlo, not only to their own dialysis clinics, but also to their “competitors.”

6           196. Fresenius Defendants are, and at all relevant times were, responsible
7
      for ensuring, through adequate warnings, training, instructing and monitoring, that
8
9     their NaturaLyte and/or GranuFlo were being properly used and/or administered by

10    treating physicians, technicians and/or healthcare facilities.
11
            197. In 2011, Fresenius Defendants reported net revenue of $12,795
12
13    million related to their dialysis services and products, with $8,150 million in

14    revenue attributed to North America (64%).
15
            198. In 2010, Fresenius Defendants reported net revenue of $12,053
16
17    million related to their dialysis services and products, with $8,130 million in

18    revenue attributed to North America (67%).
19
            199. Fresenius Defendants have represented that they are committed to
20
21    conducting their business activities in compliance with local laws and regulations,

22    and that they seek to demonstrate professionalism, honesty and integrity in their
23
      business relationships with patients, customers, suppliers, the government, other
24
25    payors, fellow employees, stockholders and the general public.

26
27
                                           COMPLAINT
28                                            41
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1           200. Despite Fresenius Defendants’ representations, upon discovering the

2     serious health consequences and risks associated with their NaturaLyte and/or
3
      GranuFlo, Defendants intentionally, willfully, recklessly and/or negligently failed
4
5     to advise and/or warn dialysis patients, including the Decedent, their customers

6     (i.e. treating physicians, healthcare facilities, distributors), their suppliers, the
7
      government, other payors and/or the general public of said serious consequences
8
9     and risks.

10          201. Despite Fresenius Defendants’ representations, upon discovering the
11
      serious health consequences and risks associated with their NaturaLyte and/or
12
13    GranuFlo, Defendants permitted their NaturaLyte and/or GranuFlo to be

14    assembled,   compounded,      manufactured,    marketed,    promoted,    advertised,
15
      distributed, labeled, detailed, supplied, packaged and/or sold without adequate
16
17    warnings of the serious health consequences and risks associated with their

18    NaturaLyte and/or GranuFlo.
19
            202. Despite Fresenius Defendants’ representations, upon discovering the
20
21    serious health consequences and risks associated with their NaturaLyte and/or

22    GranuFlo, Defendants permitted their NaturaLyte and/or GranuFlo to be
23
      assembled,   compounded,      manufactured,    marketed,    promoted,    advertised,
24
25    distributed, labeled, detailed, supplied, packaged and/or sold without adequate

26    instructions regarding the safe and proper use of their NaturaLyte and/or GranuFlo.
27
                                          COMPLAINT
28                                           42
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1           203. Despite their knowledge of the serious health consequences and risks

2     associated with their NaturaLyte and/or GranuFlo, Defendants engaged in a
3
      marketing campaign to promote the purchase and/or sales of their NaturaLyte
4
5     and/or GranuFlo.

6           204. Based upon the results of their 2004 Retrospective Study, at all
7
      relevant times, Defendants advertised and/or marketed that the use of their
8
9     GranuFlo resulted in a 33% reduction in the prevalence of acidosis.

10          205. Defendants advertised and/or marketed GranuFlo as less costly to
11
      transport to and/or store at healthcare facilities than other acid concentrates on the
12
13    market.

14          206. Defendants successfully marketed their NaturaLyte and/or GranuFlo
15
      throughout the United States by, among other things, conducting promotional
16
17    campaigns that misrepresented the risks and benefits associated with their

18    NaturaLyte and/or GranuFlo in order to induce widespread use and consumption.
19
            207. Defendants’ misrepresentations regarding and/or promotions about
20
21    their NaturaLyte and/or GranuFlo were made by means of media advertisement,

22    internet advertisements, press releases, sales literature, presentations, advertising
23
      campaigns, print ads, magazine ads and/or additional commercial media.
24
25          208. Upon information and belief, Fresenius Defendants did not disclose

26    the serious health consequences and risks associated with their NaturaLyte and/or
27
                                          COMPLAINT
28                                           43
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1     GranuFlo because they knew that physicians and/or healthcare facilities would not

2     purchase their NaturaLyte and/or GranuFlo, and, as a result, their sales would
3
      decline.
4
5           209. Upon information and belief, as a result of Defendants’ advertising

6     and/or marketing campaign, GranuFlo experienced a steady increase in its market
7
      share since it was first approved in 2003 and, as of 2012, was used by the majority
8
9     of hemodialysis patients in the United States.

10          210. Defendants’ wanton, willful, fraudulent and/or reckless conduct, as set
11
      forth herein, demonstrates a complete disregard and reckless indifference for the
12
13    health, safety and welfare of consumers and dialysis patients, including the

14    Decedent, thus entitling Plaintiffs to punitive damages so as to punish and deter
15
      such similar conduct in the future.
16
17    E.    Injuries and Damages

18          211. Upon information and belief, the Decedent, Jesse Facio, was
19
      prescribed, administered and/or otherwise used NaturaLyte and/or GranuFlo
20
21    pursuant to the prescribing physician’s orders during dialysis in March, 2011.

22          212. Decedent was administered or otherwise used NaturaLyte and/or
23
      GranuFlo as prescribed and in a reasonable and foreseeable manner.
24
25
26
27
                                            COMPLAINT
28                                             44
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1           213. As a direct and proximate result of his use of NaturaLyte and/or

2     GranuFlo, Decedent experienced a severe adverse cardiovascular event on
3
      approximately March 26, 2011 and cardiovascular death on or about April 6, 2011.
4
5     F.    Tolling of the Limitations Period

6           214. Defendants,      through    their   affirmative   misrepresentations   and
7
      omissions, actively concealed from Plaintiffs, Decedent and any non-defendant
8
9     healthcare providers the true and significant risks associated with their products.

10          215. As a result of Defendants’ actions, neither Decedent, nor Decedent’s
11
      healthcare providers were aware, nor could they have reasonably known or learned
12
13    through reasonable diligence, that Decedent was being exposed to the risk

14    identified herein, or that those risks were the result of the acts, omissions and
15
      misrepresentations of each Defendant.
16
17          216. Accordingly, no cause of action or claim accrued, and no limitations

18    period began to run, until such time as Plaintiffs knew or reasonably should have
19
      known of some causal connection between the use of Defendants’ products and the
20
21    harm suffered as a result, which was after the FDA’s announcement of a Class 1

22    recall in June of 2012.
23
            217. Additionally, the accrual of a cause of action or claim and the running
24
25    of any applicable statute of limitations has been tolled by Defendants’ fraudulent

26    concealment as described herein.
27
                                            COMPLAINT
28                                             45
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1           218. Additionally, each Defendant is equitably estopped from asserting any

2     limitations defense by virtue of its fraudulent concealment and other misconduct as
3
      described herein.
4
5           219. Additionally, any limitations period is tolled by any other principle of

6     equitable tolling available under applicable law.
7
                                FIRST CAUSE OF ACTION
8                         (NEGLIGENCE & NEGLIGENCE PER SE)
9
            220. Plaintiffs incorporate every paragraph of this Complaint as if set forth
10
11    herein.

12          221. At all relevant times, Defendants knew or reasonably should have
13
      known that their product was unreasonably dangerous and defective when used as
14
15    designed and directed. A reasonably careful search and review of the scientific

16    literature and other information, and proper research and testing, indicated:
17
                a. That health care professionals were unaware that Defendants’ product
18                 contained acetic acid, acetate, or citrate that converts to bicarbonate;
19
                b. That as a result, the potential existed for Defendants’ product to
20                 contribute to metabolic alkalosis;
21
                c. That metabolic alkalosis was associated with a higher risk of cardiac
22                 injury and death in hemodialysis patients; and
23
                d. That health care professionals needed adequate warnings and
24                 instructions to consider the impact of Defendants’ acid concentrate on
25                 the dialysate buffer and adjust prescription practices, dialysis machine
                   settings, and related dialysis treatment practices.
26
27
                                          COMPLAINT
28                                           46
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1           222. Defendants had a duty to exercise reasonable care and to comply with

2     thethen-existing standard of care in the design, testing, research, development,
3
      packaging, distribution, promotion, marketing, advertising, instruction, and sale of
4
5     their product. Specifically:

6              a. Defendants had a continuing duty to ensure that the product they
7                 provided was safe and used correctly through proper design, testing,
                  research, adequate instruction, post-market surveillance, and
8                 appropriate modifications;
9
               b. Defendants had a duty to anticipate the environment in which the
10                product would be used and to design against the reasonably
11                foreseeable risks attendingthe product’s use in that setting, including
                  misuse or alteration;
12
13             c. Defendants had a continuing duty to give an adequate warning of
                  known or reasonably foreseeable dangers arising from the use of their
14                product;
15
               d. Defendants had a duty to provide adequate warnings and instructions,
16                which means they had to be comprehensible to the average user,
17                calculated toconvey the material risks to the mind of a reasonably
                  prudent person, and ofan intensity commensurate with the danger
18                involved;
19
               e. Defendants had a continuing duty to assure the product they provided
20                wasproperly labeled and true to the representations Defendants made
21                about it;

22             f. Defendants had a continuing duty to make sure their product had
23                complete and accurate information and instructions concerning its
                  proper use;
24
25             g. Defendants had a continuing duty to assure that those writing and
                  carrying out patients’ prescriptions fully understood the nature,
26                characteristics, and properuse of Defendants’ product to allow them to
27
                                         COMPLAINT
28                                          47
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1                 communicate and effectuate thepatients’ medical needssafely, the
                  proper dialysis machine settings, and safetreatment;
2
3              h. Defendants had a continuing duty to assure dialysis clinical staff
                  wereproperly informed of and trained on proper use of Defendants’
4                 product andthat they complied with said training;
5
               i. Defendants had a continuing duty to modify their products, and their
6                 packaging, instructions, promotional and advertising efforts to
7                 eliminate confusion and user error, assure compliance, and prevent
                  harm; and
8
9              j. Defendants had a continuing obligation to disseminate appropriate
                  contentand employ appropriate methods to convey accurate and
10                complete product information.
11
            223. In violation of the existing standards and duties of care,
12
13    Defendants,individually and collectively, deviated from reasonable and safe

14    practices in the following ways, by:
15
               a. Designing     a    defective      product     in    formulation      and
16                warnings/instructions;
17
               b. Failing to conduct pre and post market safety tests and studies;
18
19             c. Failing to collect, analyze, and report available data regarding dialysis
                  patients’ use of Defendants’ product;
20
21             d. Failing to conduct adequate post-market monitoring and surveillance;

22             e. Failing to include adequate warnings about and/or instructions
23                concerning the increased risks of death and serious injury;

24             f. Failing to provide adequate warnings and/or proper instructions
25                regarding proper uses of the product;

26
27
                                         COMPLAINT
28                                          48
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1              g. Failing to provide adequate warnings and/or proper instructions
                  regarding monitoring dialysis patients before, during, and after
2                 dialysis;
3
               h. Failing to inform users that Defendants had not adequately tested or
4                 researched the product to determine its safety and risks;
5
               i. Failing to inform users that the clinicians, nurses, and/or physicians
6                 were not adequately trained, instructed, credentialed, and prepared for
7                 proper use of the product in a safe and effective manner;

8              j. Failing to educate and instruct users about the unique characteristics
9                 of their product and the proper way to administer it and operate the
                  dialysis machines because of it;
10
11             k. Failing to properly instruct staff regarding machine calibration;
                  product preparation (e.g., specific gravity test); bicarbonate
12                preparation; formula selection (e.g., machine entry); base sodium and
13                bicarbonate (e.g., machine entry); and dialysate verification;

14             l. Failing to properly select, train, instruct, supervise, and monitor
15                product users and their employees, agents, servants, officers,
                  directors, and clinical staff;
16
17             m. Failing to implement and execute corrective and preventive actions to
                  eliminate injuries resulting from foreseeable errors within clinics
18                caused by the dozens of possible dialysate formulas Defendants
19                provided;

20             n. Making material misrepresentations about the product’s safety, nature,
21                characteristics, and proper use; and

22             o. Continuing to promote and market the product despite the foregoing
23                failures.

24          224. Defendants violated statutes, ordinances, and rules and/or regulations
25
      concerning the manufacturing, marketing and/or testing of their products.
26
27
                                         COMPLAINT
28                                          49
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1           225. The injuries and damages alleged herein were the reasonably

2     foreseeable result of Defendants’ conduct.
3
            226.   Had Defendants undertaken the tests, studies, and steps described
4
5     herein, as required, the injuries and damages complained of here would not have

6     occurred.
7
            227. Defendants are bound for the care of their agents, servants,
8
9     employees, officers, and directors and for the neglect and fraud of the same.

10          228. Defendants are liable for the conduct of their agents, servants,
11
      employees, officers, and directors committed in the course of their activities on
12
13    behalf of and in furtherance of the company.          Defendants are their agents,

14    employees, officers, and directors conduct attempting to advance Defendants’
15
      business. These persons acted within the scope of those efforts and their
16
17    employment, as applicable. They were not exercising any independent business,

18    but rather subject to Defendants’ immediatedirection and control. Defendants
19
      retained the right to direct or control the time andmanner of executing the work,
20
21    and interfered and assumed control with it.

22          229. Defendants expressly and impliedly authorized and ratified the
23
      conduct oftheir agents, servants, employees, officers, and directors.
24
25          230. Defendants received significant benefits as a direct result of their

26    agents’,employees’, servants’, officers’, and directors’ conduct.
27
                                          COMPLAINT
28                                           50
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1           231. As a direct and proximate result of Defendants’ conduct and

2     omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries
3
      and damages alleged herein.
4
5           232. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted

6     maliciously, wantonly, or with recklessness suggesting an improper motive so as to
7
      warrant the imposition of punitive damages.
8
9           WHEREFORE, Plaintiffs demand judgment against Defendants and

10    seekcompensatory damages, and exemplary and punitive damages together with
11
      interest, thecosts of suit and attorneys’ fees and such other and further relief as this
12
13    Court deems justand proper.

14                         SECOND CAUSE OF ACTION
15                (STRICT PRODUCT LIABILITY - DESIGN DEFECT)

16          233. Plaintiffs incorporate every paragraph of this Complaint as if set forth
17
      herein.
18
19          234. Defendants were engaged in the business of designing, manufacturing,

20    and selling the product at issue. Defendants placed it into the stream of commerce
21
      in a defective and unreasonably dangerous condition such that the foreseeable risks
22
23    exceeded the benefits associated with the design and/or formulation of the product.

24          235. Defendants designed their product differently from preexisting
25
      products resulting in an unreasonably dangerous and defective product. According
26
27    to Defendants, “bicarbonate-based dialysis products deliver additional buffering
                                           COMPLAINT
28                                            51
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1     capacity through mixing and metabolism of acetate, acetic acid or citric acid when

2     mixed for dialysate;” however, only Defendants’ product delivered excessive
3
      acetate and significantly and unprecedentedly increased the total buffer. The liver
4
5     quickly converts acetate to bicarbonate in the liver. This contributes to metabolic

6     alkalosis, which causesthe dialysis patients’blood pressure to plummet leading to
7
      cardiac arrest and stroke. The cause of bicarbonate-induced alkalosis in dialysis
8
9     patients was Defendants’ inappropriately high dialysate total buffer concentration.

10          236. Defendants’ product was unreasonably and dangerously defective
11
      beyond the extent contemplated by ordinary users with ordinary knowledge
12
13    regarding these products.    Decedent and Decedent’s health care providers were

14    unaware of the danger as Defendants provided ineffective and inadequate warnings
15
      and instructions, at best, and deliberately misled them.
16
17          237. Defendants’ product was defective due to inadequate post-marketing

18    warnings and instructions, and/or inadequate testing and studies, and/or inadequate
19
      reporting regarding the results. Defendants’ product was defective due to
20
21    inadequate post-marketing warnings or instructions because, after Defendants

22    knew or should have known of the risks, they failed to provide adequate
23
      information to the medical community and patients, but continued to promote the
24
25    product as safe and effective.

26
27
                                          COMPLAINT
28                                           52
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1           238. Defendants’ product was defective in light of the dangers posed by its

2     design and the likelihood of those avoidable dangers. Defendants’ product was
3
      defective because the inherent risk of harm in Defendants’ product design
4
5     outweighed the utility or benefits of the existing product design. Defendants’

6     product was defective because reasonably cost-effective and feasible state-of-the-
7
      art alternatives existed at the time that would not have undermined the product’s
8
9     usefulness. Defendants were aware of effective substitutes for the product,

10    including their own alternative concentrates and dialysis machine enhancements.
11
      The gravity and likelihood of the dangers posed by the product’s design
12
13    outweighed the feasibility, cost, and adverse consequences to the product’s

14    function of a safer alternative design that Defendants reasonably should have
15
      adopted.
16
17          239. There was a safer alternative design that would have prevented or

18    significantly reduced the risk of injury. It was reasonable as well as economically
19
      and technologically feasible at the time the product left Defendants’ control by the
20
21    application of existing or reasonably achievable scientific knowledge.

22          240. Defendants failed to comply with industry standards, including federal
23
      or state safety standards and regulations, and industry-wide customs, practices, and
24
25    design standards. Defendants’ noncompliance with such standards demonstrates

26    the product design selected was unreasonable considering the feasible choices of
27
                                         COMPLAINT
28                                          53
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1     which Defendants knew and should have known. Despite any instances of

2     compliance with such standards, Defendants’ product still contained a design
3
      defect.
4
5           241. The defective and unreasonably dangerous conditions discussed

6     herein existed when the product left Defendants’ control. They existed when
7
      Defendants sold the product. They existed when the Decedent received it.
8
9           242. As a direct and proximate result of Defendants’ conduct and

10    omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries
11
      and damages alleged herein.
12
13          243. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted

14    maliciously, wantonly, or with recklessness suggesting an improper motive so as to
15
      warrant the imposition of punitive damages.
16
17          WHEREFORE, Plaintiffs demand judgment against Defendants and seek

18    compensatory damages, and exemplary and punitive damages together with
19
      interest, the costs of suit and attorneys’ fees and such other and further relief as this
20
21    Court deems just and proper.

22                         THIRD CAUSE OF ACTION
23              (STRICT PRODUCT LIABILITY - FAILURE TO WARN)

24          244. Plaintiffs incorporate every paragraph of this Complaint as if set forth
25
      herein.
26
27
                                           COMPLAINT
28                                            54
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1           245. Defendants’ product was defective due to inadequate post-marketing

2     warnings and instructions, and/or inadequate testing and studies, and/or inadequate
3
      reporting regarding the results. Defendants’ product was defective due to
4
5     inadequate post-marketing warnings or instructions because, after Defendants

6     knew or should have known of the risk of injury from their product, they failed to
7
      provide adequate warnings to the medical community and patients, and continued
8
9     to promote the product as safe and effective.        Even if the product was not

10    defectively designed, it failed to contain adequate warnings or instructions. The
11
      dangers at issue were of the kind that required warnings and instructions.
12
13          246. In part, Defendants failed to provide adequate warnings regarding the

14    existence of additional acetate in their product that the body could convert to
15
      bicarbonate, which could cause metabolic alkalosis, a condition associated with a
16
17    higher risk of cardiac injury and death. Defendants failed to provide adequate

18    instructions for health care providers to be aware of these risks, alter prescription
19
      practices, adjust the dialysis machines, and take other steps before, during, and
20
21    after the dialysis treatment process to avoid these dangers. Any information

22    Defendants provided about these risks was inadequate in content, presentation, and
23
      delivery. They were ineffective for those who would be foreseeably affected by the
24
25    product. Defendants’ product was capable of being made safe for its intended and

26    ordinary use.
27
                                          COMPLAINT
28                                           55
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1           247. The Decedent and his healthcare providers were unaware of the

2     dangers and proper instructions. Neither Decedent nor his providers understood
3
      and appreciated the risks associated with the product or its proper usage. The
4
5     dangers described herein were not known, obvious, or apparent. They did not result

6     from any unforeseeable and unanticipated use. Defendants’ conduct and internal
7
      memoranda support these allegations.
8
9           248. As a direct and proximate result of Defendants’ conduct and

10    omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries
11
      and damages alleged herein.
12
13          249. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted

14    maliciously, wantonly, or with recklessness suggesting an improper motive so as to
15
      warrant the imposition of punitive damages.
16
17          WHEREFORE, Plaintiffs demand judgment against Defendants and seek

18    compensatory damages, and exemplary and punitive damages together with
19
      interest, the costs of suit and attorneys’ fees and such other and further relief as this
20
21    Court deems just and proper.

22                           FOURTH CAUSE OF ACTION
23                       (FRAUDULENT MISREPRESENTATION)

24          250. Plaintiffs incorporate every paragraph of this Complaint as if set forth
25
      herein.
26
27
                                           COMPLAINT
28                                            56
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1           251. The Defendants falsely and fraudulently represented to the medical

2     and healthcare community, and to Plaintiffs, Decedent, Decedent’s healthcare
3
      providers, the FDA, and/or the public in general, that said products, NaturaLyte
4
5     and/or GranuFlo, had been tested and were found to be safe and/or effective for use

6     as acid concentrates during hemodialysis.
7
            252. The representations made by Defendants were, in fact, false.
8
9           253. When said representations were made by Defendants, they knew those

10    representations to be false and they willfully, wantonly and recklessly disregarded
11
      whether the representations were true.
12
13          254. These representations were made by Defendants with the intent of

14    defrauding and deceiving Plaintiffs, Decedent, the public in general, and the
15
      medical and healthcare community in particular, and were made with the intent of
16
17    inducing the public in general, and the medical and healthcare community in

18    particular, to recommend, prescribe, dispense and/or purchase said products,
19
      NaturaLyte and/or GranuFlo, for use as a means of treating kidney disease during
20
21    hemodialysis, all of which evinced a callous, reckless, willful, depraved

22    indifference to the health, safety and welfare of Decedent.
23
            255. At the time the aforesaid representations were made by Defendants
24
25    and, at the time Decedent was administered and/or receivedNaturaLyte and/or

26    GranuFlo, Plaintiffs, Decedent, Decedent’s treating physicians and/or healthcare
27
                                          COMPLAINT
28                                           57
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1     providers were unaware of the falsity of said representations and reasonably

2     believed them to be true.
3
            256. In reliance upon said representations, Plaintiffs, Decedent, Decedent’s
4
5     treating physicians and/or healthcare providers, were induced to and did use

6     NaturaLyte and/or GranuFlo, thereby causing the Decedent to sustain severe and
7
      permanent personal injuries, and/or be at an increased risk of sustaining severe and
8
9     permanent personal injuries.

10          257. Defendants knew and were aware or should have been aware that
11
      NaturaLyte and/or GranuFlo had not been sufficiently tested, were defective in
12
13    nature, and/or that they lacked adequate and/or sufficient warnings.

14          258. Defendants knew or should have known that NaturaLyte and/or
15
      GranuFlohad a potential to, could, and would cause severe and grievous injury to
16
17    the users of said product and that they were inherently dangerous in a manner that

18    exceeded any purported, inaccurate, and/or down-played warnings.
19
            259. Defendants brought NaturaLyte and/or GranuFlo to the market, and
20
21    acted fraudulently, wantonly and maliciously to the detriment of the Plaintiffs and

22    the Decedent.
23
            260. As a direct and proximate result of Defendants’ conduct and
24
25    omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries

26    and damages alleged herein.
27
                                          COMPLAINT
28                                           58
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1           261. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted

2     maliciously, wantonly, or with recklessness suggesting an improper motive so as to
3
      warrant the imposition of punitive damages.
4
5           WHEREFORE, Plaintiffs demand judgment against Defendants and seek

6     compensatory damages, and exemplary and punitive damages together with
7
      interest, the costs of suit and attorneys’ fees and such other and further relief as this
8
9     Court deems just and proper.

10                              FIFTH CAUSE OF ACTION
11                           (FRAUDULENT CONCEALMENT)

12          262. Plaintiffs incorporate every paragraph of this Complaint as if set forth
13
      herein.
14
15          263. At all times during the course of dealing between Defendants and

16    Plaintiffs, Decedent, Decedent’s healthcare providers, and/or the FDA, Defendants
17
      misrepresented the safety of NaturaLyte and/or GranuFlo for their intended use.
18
19          264. At all times during the course of dealing between Defendants and

20    Plaintiffs, Decedent, Decedent’s healthcare providers, and/or the FDA, Defendants
21
      misrepresented the serious and grave health risks that could occur by virtue of
22
23    exposure to NaturaLyte and/or GranuFlo including, but not limited to, death,

24    cardiopulmonary      arrest,   hypokalemia,     hypoxemia,      hypercapnia,     cardiac
25
      arrhythmias, coma, stroke and/or hypotension.
26
27
                                           COMPLAINT
28                                            59
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1           265. Defendants knew or were reckless in not knowing that its

2     representations were false.
3
            266. In representations to Plaintiffs, Decedent, and/or Decedent’s
4
5     healthcare providers, and/or the FDA, Defendants fraudulently concealed and

6     intentionally omitted the following material information:
7
                   a.   That NaturaLyte and/or GranuFlo were not as safe as other acid
8                       concentrates;
9
                   b.   That the risks of adverse events with NaturaLyte and/or GranuFlo
10                      were higher than those with other acid concentrates;
11
                   c.   That the risks of adverse events with NaturaLyte and/or GranuFlo
12                      were not adequately tested and/or known by Defendants;
13
                   d.   That Defendants were aware of dangers in NaturaLyte and/or
14                      GranuFlo;
15
                   e.   That the administration of NaturaLyte and/or GranuFlo to
16                      dialysis patients resulted in higher than normal post-dialysis
17                      bicarbonate levels;

18                 f.   That the administration of NaturaLyte and/or GranuFlo to
19                      dialysis patients resulted in an increase in metabolic alkalosis;

20                 g.   That physicians and/or healthcare facilities administering
21                      NaturaLyte and/or GranuFlo to dialysis patients should monitor
                        more frequently the dialysis patient’s pre and post-dialysis
22                      bicarbonate levels;
23
                   h.   That the administration of NaturaLyte and/or GranuFlo to
24                      dialysis patients resulted in dangerous side effects, including but
25                      not limited to death, cardiopulmonary arrest, electrolyte
                        imbalances, hypokalemia, hypoxemia, hypercapnia, cardiac
26                      arrhythmias, coma, stroke and hypotension;
27
                                          COMPLAINT
28                                           60
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1                    i.   That NaturaLyte and/or GranuFlo were defective, and that they
                          caused dangerous side effects, including, but not limited to,
2                         death, cardiopulmonary arrest, electrolyte imbalances,
3                         hypokalemia, hypoxemia, hypercapnia, cardiac arrhythmias,
                          coma, and hypotension, in a much more and significant rate than
4                         other acid concentrates;
5
                     j.   That patients needed to be monitored more regularly than normal
6                         while using NaturaLyte and/or GranuFlo;
7
                     k.   That NaturaLyte and/or GranuFlo were manufactured, marketed,
8                         produced and distributed negligently, defectively and/or
9                         improperly;

10                   l.   That NaturaLyte and/or GranuFlo were designed negligently,
11                        defectively and/or improperly.

12          267. Defendants were under a duty to disclose to Plaintiffs, Decedent,
13
      Decedent’s treating physicians, hospitals, healthcare providers, and/or the FDA the
14
15    defective nature of NaturaLyte and/or GranuFlo, including but not limited to, the

16    serious and grave health risks associated with NaturaLyte and/or GranuFlo
17
      including but not limited to death, cardiopulmonary arrest, electrolyte imbalances,
18
19    hypokalemia, hypoxemia, hypercapnia, cardiac arrhythmias, coma, stroke and

20    hypotension.
21
            268. Defendants had sole access to material facts concerning the defective
22
23    nature of the products and their propensity to cause serious and dangerous side

24    effects, and hence, cause damage to persons who used NaturaLyte and/or
25
      GranuFlo, including Decedent, in particular.
26
27
                                           COMPLAINT
28                                            61
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1           269. Defendants’ concealment and omissions of material facts concerning,

2     inter alia, the safety of NaturaLyte and/or GranuFlo was made purposefully,
3
      intentionally, willfully, wantonly, and/or recklessly, to mislead Plaintiffs,
4
5     Decedent, Decedent’s physicians, hospitals and healthcare providers into reliance

6     and continued use of NaturaLyte and/or GranuFlo, and actions thereon, and to
7
      cause them to purchase, prescribe, and/or dispense NaturaLyte and/or GranuFlo
8
9     and/or otherwise use the products.

10          270. Defendants knew that Plaintiffs, Decedent, Decedent’s physicians,
11
      hospitals, healthcare providers, and/or the FDA had no way to determine the truth
12
13    behind Defendants’ concealment and omissions, and that these included material

14    omissions of facts surrounding NaturaLyte and/or GranuFlo, as set forth herein.
15
            271. Plaintiffs, Decedent, Decedent’s doctors, healthcare providers, and/or
16
17    hospitals reasonably relied on facts revealed which negligently, fraudulently and/or

18    purposefully did not include facts that were concealed and/or omitted by
19
      Defendants.
20
21          272. Plaintiffs, Decedent, Decedent’s doctors, healthcare providers, and/or

22    hospitals reasonably relied on Defendants’ representations that their NaturaLyte
23
      and/or GranuFlo were safe for their intended use.
24
25          273. Had the severe health risks associated with Defendants’NaturaLyte

26    and/or GranuFlobeen properly and/or adequately disclosed, Plaintiffs, Decedent,
27
                                           COMPLAINT
28                                            62
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1     Decedent’s treating physicians, healthcare providers, and/or healthcare facilities

2     would not have purchased and/or usedNaturaLyte and/or GranuFlo.
3
            274. As a direct and proximate result of Defendants’ conduct and
4
5     omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries

6     and damages alleged herein.
7
            275. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted
8
9     maliciously, wantonly, or with recklessness suggesting an improper motive so as to

10    warrant the imposition of punitive damages.
11
            WHEREFORE, Plaintiffs demand judgment against Defendants and seek
12
13    compensatory damages, and exemplary and punitive damages together with

14    interest, the costs of suit and attorneys’ fees and such other and further relief as this
15
      Court deems just and proper.
16
17                            SIXTH CAUSE OF ACTION
                          (NEGLIGENT MISREPRESENTATION)
18
            276. Plaintiffs incorporate every paragraph of this Complaint as if set forth
19
20    herein.
21
            277. Defendants had a duty to represent to the medical and healthcare
22
      community, and to Plaintiffs, Decedent, the FDA and the public in general that
23
24    said products, NaturaLyte and/or GranuFlo, had been tested and found to be safe
25
      and effective for their intended use.
26
            278. The representations made by Defendants were, in fact, false.
27
                                           COMPLAINT
28                                            63
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1           279. Defendants failed to exercise ordinary care in the representation of

2     NaturaLyte and/or GranuFlo, while involved in their manufacture, sale, testing,
3
      quality assurance, quality control, and/or distribution of said product into interstate
4
5     commerce in that Defendants negligently misrepresentedNaturaLyte and/or

6     GranuFlo’s high risk of unreasonable, dangerous side effects.
7
            280. Defendants breached their duty in representingNaturaLyte and/or
8
9     GranuFlo’s serious side effects to the medical and healthcare community, to the

10    Plaintiffs, Decedent, the FDA and the public in general.
11
            281. Defendants knew and/or were aware or should have known that
12
13    NaturaLyte and/or GranuFlohad been insufficiently tested, and/or had not been

14    tested, that they lacked adequate and/or accurate warnings, and/or that they created
15
      a   high   risk   and/or   higher   than   acceptable   risk,   and/or   higher   than
16
17    reported/represented risks of severe and grave health consequences.

18          282. As a direct and proximate result of Defendants’ conduct and
19
      omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries
20
21    and damages alleged herein.

22          283. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted
23
      maliciously, wantonly, or with recklessness suggesting an improper motive so as to
24
25    warrant the imposition of punitive damages.

26
27
                                          COMPLAINT
28                                           64
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1           284. WHEREFORE, Plaintiffs demand judgment against Defendants and

2     seek compensatory damages, and exemplary and punitive damages together with
3
      interest, the costs of suit and attorneys’ fees and such other and further relief as this
4
5     Court deems just and proper.

6                              SEVENTH CAUSE OF ACTION
7                                      (FRAUD)

8           285. Plaintiffs incorporate every paragraph of this Complaint as if set forth
9
      herein.
10
            286. Defendants conducted research and/or had a duty to conduct research
11
12    using NaturaLyte and/or GranuFlo.
13
            287. As a result of Defendants’ research and testing, or lack thereof,
14
      Defendants blatantly and intentionally distributed false information, including, but
15
16    not limited to, assuring the public, Plaintiffs, Decedent, Decedent’s doctors,
17
      hospitals, healthcare professionals, and/or the FDA that NaturaLyte and/or
18
      GranuFlo were safe and effective for their intended use as acid concentrates.
19
20          288. As a result of Defendants’ research and testing, or lack thereof,
21
      Defendants intentionally omitted certain results of testing and research to the
22
      public, healthcare professionals, and/or the FDA, including Plaintiffs, the
23
24    Decedent, and Decedent’s healthcare providers.
25
26
27
                                           COMPLAINT
28                                            65
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1           289. Defendants had a duty when disseminating information to the public

2     to disseminate truthful information and a parallel duty not to deceive the public,
3
      Plaintiffs, Decedent, Decedent’s respective healthcare providers and/or the FDA.
4
5           290. The information distributed to the public, the FDA, Plaintiffs, and

6     Decedent by Defendants, including but not limited to reports, press releases,
7
      advertising campaigns, television commercials, print ads, magazine ads, billboards,
8
9     internet advertisements and/or all other commercial media contained material

10    representations of fact and/or omissions.
11
            291. The information distributed to the public, the FDA, Plaintiffs, and
12
13    Decedent by Defendants intentionally included representations that Defendants’

14    acid concentrates NaturaLyte and/or GranuFlo were safe and effective for their
15
      intended use as acid concentrates.
16
17          292. The information distributed to the public, the FDA, Plaintiffs, and

18    Decedent by Defendants intentionally included representations that Defendants’
19
      acid concentrates NaturaLyte and/or GranuFlo carried the same risks, hazards,
20
21    and/or dangers as other acid concentrates on the market.

22          293. The information distributed to the public, the FDA, Plaintiffs, and
23
      Decedent by Defendants intentionally included representations that Defendants’
24
25    acid concentrates NaturaLyte and/or GranuFlo were more effective for the

26    treatment of kidney disease during hemodialysis, thereby encouraging the use of
27
                                           COMPLAINT
28                                            66
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1     NaturaLyte and/or GranuFloin circumstances other than those in which the drug

2     has been approved, over-promises the benefits and minimizes the risk associated
3
      with NaturaLyte and/or GranuFlo.
4
5           294. The information distributed to the public, the FDA, Plaintiffs, and

6     Decedent by Defendants intentionally included false representations that exposure
7
      to NaturaLyte and/or GranuFlo was not injurious to the health and/or safety of its
8
9     intended users.

10          295. The information distributed to the public, the FDA, Plaintiffs, and
11
      Decedent by Defendants intentionally included false representations that exposure
12
13    to NaturaLyte and/or GranuFlo was as potentially injurious to the health and/or

14    safety of its intended users as other acid concentrates.
15
            296. These representations were all false and misleading.
16
17          297. Upon information and belief, Defendants intentionally suppressed,

18    ignored and disregarded test results not favorable to the Defendants, and results
19
      that demonstrated that NaturaLyte and/or GranuFlo were not safe as a means of an
20
21    acid concentrate and/or were not as safe as other means of acid concentrates.

22          298. Defendants intentionally made material representations to the FDA
23
      and the public, including the medical profession, Plaintiffs, Decedent, and/or
24
25    Decedent’s healthcare providers, regarding the safety of NaturaLyte and/or

26
27
                                           COMPLAINT
28                                            67
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1     GranuFlo, specifically but not limited toexposure to NaturaLyte and/or

2     GranuFlonot having dangerous and serious health and/or safety concerns.
3
            299. Defendants intentionally made material representations to the FDA
4
5     and the public in general, including the medical profession, Plaintiffs, Decedent,

6     and/or Decedent’s healthcare providers, regarding the safety of NaturaLyte and/or
7
      GranuFlo, specifically but not limited to NaturaLyte and/or GranuFlobeing as safe
8
9     a means of acid concentrate as other acid concentrates on the market.

10          300. That it was the purpose of Defendants in making these representations
11
      to deceive and defraud the public, the FDA, Plaintiffs, Decedent and/or the
12
13    Decedent’s healthcare providers, to gain the confidence of the public, healthcare

14    professionals, the FDA, Plaintiffs, and Decedent to falsely ensure the quality and
15
      fitness for use of NaturaLyte and/or GranuFloand to induce the public, and/or
16
17    Plaintiffs and Decedent to purchase, request, dispense, prescribe, recommend,

18    and/or continue to use NaturaLyte and/or GranuFlo.
19
            301. Defendants made the aforementioned false claims and false
20
21    representations with the intent of convincing the public, healthcare professionals,

22    the FDA, Plaintiffs, and Decedent that NaturaLyte and/or GranuFlo were fit and
23
      safe for use as acid concentrates and did not pose risks, dangers, or hazards above
24
25    and beyond those identified and/or associated with other acid concentrates on the

26    market.
27
                                         COMPLAINT
28                                          68
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1            302. Defendants made claims and representations in its documents

2     submitted to the FDA, to the public, to healthcare professionals, Plaintiffs,
3
      Decedent and/or Decedent’s healthcare providers that exposure to NaturaLyte
4
5     and/or GranuFlodid not present serious health and/or safety risks.

6            303. Defendants made claims and representations in their documents
7
      submitted to the FDA, to the public, to healthcare professionals, Plaintiffs,
8
9     Decedent, and/or Decedent’s healthcare providers that exposure to NaturaLyte

10    and/or GranuFlodid not present health and/or safety risks greater than other acid
11
      concentrates on the market.
12
13           304. These representations and others made by Defendants were false

14    when made, and/or were made with a pretense of actual knowledge when
15
      knowledge did not actually exist, and/or were made recklessly and without regard
16
17    to the actual facts.

18           305. These representations and others made by Defendants were made with
19
      the intention of deceiving and defrauding Plaintiffs, Decedent, Decedent’s
20
21    healthcare providers and/or the FDA, and were made in order to induce Plaintiffs,

22    Decedent, and/or Decedent’s respective healthcare professionals to rely upon
23
      misrepresentations and caused Plaintiffs, Decedent and/or Decedent’s healthcare
24
25    providers to purchase, use, rely on, request, dispense, recommend, and/or

26    prescribeNaturaLyte and/or GranuFlo.
27
                                         COMPLAINT
28                                          69
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1           306. Defendants, recklessly and intentionally falsely represented the

2     dangerous and serious health and/or safety concerns of exposure to NaturaLyte
3
      and/or GranuFlo to the public at large, Plaintiffs, Decedent, and/or Decedent’s
4
5     healthcare providers in particular, for the purpose of influencing the marketing of

6     products known to be dangerous and defective and/or not as safe as other
7
      alternatives, including other acid concentrates.
8
9           307. Defendants willfully and intentionally failed to disclose the material

10    facts regarding the dangerous and serious safety concerns of exposure to
11
      NaturaLyte and/or GranuFloby concealing and suppressing material facts
12
13    regarding the dangerous and serious health and/or safety concerns of NaturaLyte

14    and/or GranuFlo.
15
            308. Defendants willfully and intentionally failed to disclose the truth,
16
17    failed to disclose material facts and made false representations with the purpose

18    and design of deceiving and lulling Plaintiffs, Decedent, Decedent’s healthcare
19
      providers and/or Decedent’s healthcare professionals into a sense of security so
20
21    that Plaintiffs, Decedent and/or Decedent’s healthcare providers would rely on the

22    representations and purchase, use and rely on NaturaLyte and/or GranuFloand/or
23
      that their respective healthcare providers would dispense, prescribe, and/or
24
25    recommend the same.

26
27
                                          COMPLAINT
28                                           70
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1           309. Defendants, through their public relations efforts, which included, but

2     were not limited to, the public statements and press releases, knew or should have
3
      known that the public, including Plaintiffs, Decedent, and Decedent’s healthcare
4
5     providers would rely upon the information being disseminated.

6           310. Defendants utilized direct to consumer adverting to market, promote,
7
      and/or advertiseNaturaLyte and/or GranuFlo.
8
9           311. Plaintiffs, Decedent, and/or Decedent’s healthcare providers did in

10    fact rely on and believe the Defendants’ representations to be true at the time they
11
      were made and relied upon the representations as well as the superior knowledge
12
13    of acid concentrates and were thereby induced to purchase, use and rely on

14    Defendants’ acid concentratesNaturaLyte and/or GranuFlo.
15
            312. At the time the representations were made, Plaintiffs, Decedent,
16
17    and/or Decedent’s respective healthcare providers did not know the truth with

18    regard to the dangerous and serious health and/or safety concerns of exposure
19
      toNaturaLyte and/or GranuFlo.
20
21          313. The Plaintiffs, Decedent, and/or Decedent’s healthcare providers did

22    not discover the true facts with respect to the dangerous and serious health and/or
23
      safety concerns, and the false representations of Defendants, nor could Plaintiffs,
24
25    Decedent and/or Decedent’s healthcare providers with reasonable diligence have

26    discovered the true facts.
27
                                         COMPLAINT
28                                          71
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1           314. Had Plaintiffs, Decedent, and/or Decedent’s healthcare providers

2     known the true facts with respect to the dangerous and serious health and/or safety
3
      concerns of NaturaLyte and/or GranuFlo, Plaintiffs, Decedent and/or Decedent’s
4
5     healthcare providers would not have purchased, used and/or relied on Defendants’

6     acid concentratesNaturaLyte and/or GranuFlo.
7
            315. The Defendants’ aforementioned conduct constitutes fraud and deceit,
8
9     and was committed and/or perpetrated willfully, wantonly and/or purposefully on

10    Plaintiffs, Decedent and/or Decedent’s healthcare providers.
11
            316. As a direct and proximate result of Defendants’ conduct and
12
13    omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries

14    and damages alleged herein.
15
            317. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted
16
17    maliciously, wantonly, or with recklessness suggesting an improper motive so as to

18    warrant the imposition of punitive damages.
19
            WHEREFORE, Plaintiffs demand judgment against Defendants and seek
20
21    compensatory damages, and exemplary and punitive damages together with

22    interest, the costs of suit and attorneys’ fees and such other and further relief as this
23
      Court deems just and proper.
24
25
26
27
                                           COMPLAINT
28                                            72
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1                            EIGHTH CAUSE OF ACTION
                          (BREACH OF EXPRESS WARRANTY)
2
3           318. Plaintiffs incorporate every paragraph of this Complaint as if set forth

4     herein.
5
            319. Defendants expressly warranted that NaturaLyte and/or GranuFlo
6
7     were safe and well accepted by users.

8           320. The acid concentrates NaturaLyte and/or GranuFlo do not conform to
9
      these express representations because NaturaLyte and/or GranuFlo are not safe and
10
11    have numerous serious side effects, many of which were not accurately warned

12    about by Defendants.     Asa direct and proximate result of the breach of said
13
      warranties, Plaintiffs and Decedent suffered and/or will continue to suffer severe
14
15    and permanent personal injuries, harm and economicloss.

16          321. Plaintiffs,    Decedent,     Decedent’s   healthcare   providers      and/or
17
      healthcare facilities did rely on the express warranties of Defendants herein.
18
19          322. Members of the medical community, including physicians and other

20    healthcare professionals, relied upon the representations and warranties of the
21
      Defendants for use of NaturaLyte and/or GranuFloas acid concentrates during
22
23    hemodialysis and in recommending, prescribing, and/or dispensing NaturaLyte

24    and/or GranuFlo to persons who were undergoing hemodialysis.
25
26
27
                                            COMPLAINT
28                                             73
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1           323. Defendants herein breached the aforesaid express warranties, as their

2     products NaturaLyte and/or GranuFlo were defective and did not contain adequate
3
      warnings.
4
5           324. Defendants expressly represented to Plaintiffs, Decedent, Decedent’s

6     healthcare providers, and/or the FDA that NaturaLyte and/or GranuFlo were safe
7
      and fit for use for the purposes intended, that they were of merchantable quality,
8
9     that they did not produce any dangerous side effects in excess of those risks

10    associated with other acid concentrates, that the side effects they did produce were
11
      accurately reflected in the warnings and that they were adequately tested and fit for
12
13    their intended use.

14          325. Defendants knew or should have known that, in fact, said repre-
15
      sentations and warranties were false, misleading and untrue in that NaturaLyte
16
17    and/or GranuFlo were not safe and fit for the use intended, and, in fact, produced

18    serious injuries to the users that were not accurately identified and represented by
19
      Defendants.
20
21          326. As a result of the foregoing acts and omissions, Plaintiffs and

22    Decedent suffered the injuries and damages alleged herein.
23
            327. As a direct and proximate result of Defendants’ conduct and
24
25    omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries

26    and damages alleged herein.
27
                                          COMPLAINT
28                                           74
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1           328. Fresenius’ conduct as alleged herein demonstrates that Fresenius acted

2     maliciously, wantonly, or with recklessness suggesting an improper motive so as to
3
      warrant the imposition of punitive damages.
4
5           WHEREFORE, Plaintiffs demand judgment against Defendants and seek

6     compensatory damages, and exemplary and punitive damages together with
7
      interest, the costs of suit and attorneys’ fees and such other and further relief as this
8
9     Court deems just and proper.

10                             NINTH CAUSE OF ACTION
11                        (BREACH OF IMPLIED WARRANTIES)

12          329. Plaintiffs incorporate every paragraph of this Complaint as if set forth
13
      herein.
14
15          330. At      all   times   herein    mentioned,     Defendants     manufactured,

16    compounded,      portrayed, distributed, recommended, merchandised, advertised,
17
      promoted and sold NaturaLyte and/or GranuFlo for use as acid concentrates.
18
19          331.     At the time Defendants marketed, sold, and distributed NaturaLyte

20    and/or GranuFlo for use by Decedent, Defendants knew of the use for which
21
      NaturaLyte and/or GranuFlo were intended and impliedly warranted the product to
22
23    be of merchantable quality and safe and fit for such use.

24          332. Defendants impliedly represented and warranted to the users of,
25
      including Decedent, Decedent’s physicians and healthcare providers, and/or the
26
27
                                           COMPLAINT
28                                            75
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1     FDA that NaturaLyte and/or GranuFlo were safe and of merchantable quality and

2     fit for the ordinary purpose for which said products were to be used.
3
              333. That said representations and warranties aforementioned were false,
4
5     misleading, and inaccurate in that NaturaLyte and/or GranuFlo were unsafe,

6     unreasonably dangerous, improper, not of merchantable quality and defective.
7
              334. Plaintiffs, Decedent, Decedent’s healthcare providers, healthcare
8
9     facilities and/or members of the medical community did rely on said implied

10    warranties of merchantability and of fitness for a particular use and purpose.
11
              335. Plaintiffs, Decedent, Decedent’s healthcare providers, healthcare
12
13    facilities and/or members of the medical community reasonably relied upon the

14    skill and judgment of Defendants as to whether NaturaLyte and/or GranuFlo were
15
      of merchantable quality and/or safe and fit for their intended use.
16
17            336. The acid concentrate NaturaLyte and/or GranuFlo were placed into

18    the stream of commerce by Defendants in a defective, unsafe, and inherently
19
      dangerous condition and the products and accompanying materials were expected
20
21    to and did reach users, handlers, and persons coming into contact with said

22    products without substantial change in the condition in which they were sold.
23
              337. Defendants herein breached the aforesaid implied warranties, as their
24
25    products NaturaLyte and/or GranuFlo were not fit for their intended purposes and

26    uses.
27
                                          COMPLAINT
28                                           76
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1           338. As a direct and proximate result of Defendants’ conduct and

2     omissionsdescribed herein, Plaintiffs and Plaintiffs’ Decedent sustained the injuries
3
      and damages alleged herein.
4
5           339. Defendants’conduct as alleged herein demonstrates that Defendants

6     acted maliciously, wantonly, or with recklessness suggesting an improper motive
7
      so as to warrant the imposition of punitive damages.
8
9           WHEREFORE, Plaintiffs demand judgment against Defendants and seek

10    compensatory damages, and exemplary and punitive damages together with
11
      interest, the costs of suit and attorneys’ fees and such other and further relief as this
12
13    Court deems just and proper.

14              TENTH, ELEVENTH AND TWELFTH CAUSES OF ACTION
15                (LOSS OF CONSORTIUM, SURVIVAL ACTION AND
                              WRONGFUL DEATH)
16
17          340. Plaintiffs incorporate every paragraph of this Complaint as if set forth

18    herein.
19
            341. As a result of the acts and/or omissions of Defendants as set forth
20
21    herein, Plaintiffs’ Decedent suffered severe personal loss and suffering before he

22    died, and his next of kin have also suffered the loss of services, loss of financial
23
      support, loss of society including care, assistance, and mental anguish, loss of
24
25    consortium, as well as funeral and burial expenses, entitling them to compensatory

26    and punitive damages and attorney’s fees.
27
                                           COMPLAINT
28                                            77
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1                          THIRTEENTH CAUSE OF ACTION
                               (PUNITIVE DAMAGES)
2
3           342. Plaintiffs incorporate every paragraph of this Complaint as if set forth

4     herein.
5
            343. The willful, wanton, reckless and gross misconduct of Defendants,
6
7     and each of them, under the circumstances here, were likely to, and did in fact

8     cause grave and serious harm, to wit, the death of Plaintiffs’ Decedent.
9
            344. Defendants’ conduct was committed with knowing, conscious,
10
11    wanton, willful and deliberate disregard for the value of human life and the rights

12    and safety to patients/consumers, including Plaintiffs’ Decedent, thereby entitling
13
      Plaintiffs to punitive and exemplary damages so as to punish Defendants and deter
14
15    them from similar conduct in the future.

16                                 PRAYER FOR RELIEF
17
            Plaintiffs pray for judgment against Defendants as follows:
18
19       a. Awarding compensatory damages to Plaintiffs for all of Plaintiffs’ and
            Decedent’s injuries in an amount to be determined at trial;
20
21       b. Awarding punitive damages to Plaintiffs;

22       c. Awarding pre- and post-judgment interest to Plaintiffs;
23
         d. Awarding the costs and expenses of this litigation to Plaintiffs;
24
25       e. Awarding reasonable attorneys’ fees and costs to Plaintiffs to the extent
            provided by law; and
26
27
                                          COMPLAINT
28                                           78
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